                  EXHIBIT 13




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(12) United States Patent                                                         (10) Patent No.:              US 6,976,805 B2
       Quenzi et al.                                                              (45) Date of Patent:                    Dec. 20, 2005

(54) LIGHT WEIGHT APPARATUS FOR                                                    2,453,510 A     11/1948 Jackson ......................... 94/48
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                (US); Mark A. Pietila, Atlantic Mine,                                    FOREIGN PATENT DOCUMENTS
                MI (US); Carl B. Kieranen, Laurium,                          CA               2051776          12/1995     ........... EO1C/19/42
                MI (US); Philip D. Halonen, Calumet,                         CH                352485           4/1961
                MI (US)                                                      DE                 42402          11/1965
                                                                             DE               2019631          11/1971
(73) Assignee: Delaware Capital Formation, Inc.,                             DE               3.046433          7/1982     ............. EO2F/3/76
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                                                                                                      (Continued)
(*) Notice:           Subject to any disclaimer, the term of this                             OTHER PUBLICATIONS
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 0 days.                               Engineering News-Record, Plymouth Locomotive Works,
                                                                             p. 78, May 26, 1949.
(21) Appl. No.: 10/266,305                                                                            (Continued)
(22) Filed:     Oct. 8, 2002                                                 Primary Examiner-Gary S. Hartmann
(65)                  Prior Publication Data                                 (74) Attorney, Agent, or Firm Van Dyke, Gardner, Linn &
                                                                             Burkhart, LLP
        US 2003/0068200 A1 Apr. 10, 2003
                                                                             (57)                    ABSTRACT
                Related U.S. Application Data                                Alightweight Screeding apparatus for Screeding and Smooth
(60) Provisional application No. 60/327.964, filed on Jan. 9,                ing an uncured concrete Surface includes a concrete Surface
        2001, provisional application No. 60/341,721, filed on Dec.
        18, 2001, and provisional application No. 60/354.866, filed          Working member, Such as Vibrating beam or member, and a
        on Feb. 5, 2002.                                                     grade Setting device adjustably mounted to Said vibrating
(51) Int. Cl. ................................................ E01C 1922     beam. The Screeding apparatus may include a wheeled
(52) U.S. Cl. ........................................ 404/114; 404/118      Support which at least partially Supports the vibrating beam
(58) Field of Search .................................. 404/114, 118         and/or the grade setting device. The wheels of the wheeled
                                                                             Support may be powered or driven to assist an operator in
(56)                     References Cited                                    moving the Screeding apparatus over and through the
                                                                             uncured concrete. The grade Setting device is vertically
                 U.S. PATENT DOCUMENTS                                       adjustable to Set or indicate the desired grade of the concrete
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                                                                             Surface as the Screeding apparatus is moved over and
       2009,542 A         7/1935 Day .............................. 94/45    through the uncured concrete. The grade Setting device may
       2,180,198. A      11/1939 Day .............................. 94/46    be adjusted by means of a laser plane responsive control
       2.248,247 A        7/1941 Nichols ......................... 94/45     System.
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       LIGHT WEIGHT APPARATUS FOR                                  twelve inch (30 cm) diameter pads. Two of these 12 inch (30
     SCREEDING AND WIBRATING UNCURED                               cm) wide by 10 foot (3 m) elongated “surface-pads” are then
            CONCRETE SURFACES                                      Struck off parallel to each other at a distance roughly equal
                                                                   to the width of the screed being used. The concrete is then
           CROSS-REFERENCE TO RELATED                              Struck off between these two parallel Surfaces using the
                  APPLICATIONS                                     elongated "Surface-pads” as a height reference or guides for
   The present application claims priority on U.S. provi           the Screed. Any exceSS concrete material may then be
                                                                   manually raked and Shoveled aside by workers. Alternately,
sional application, Ser. No. 60/327.964, filed Oct. 9, 2001;       additional concrete material may be brought in and added as
U.S. provisional application, Ser. No. 60/341,721, filed Dec.      needed to fill any low areas. This is accomplished by at least
18, 2001; and U.S. provisional application, Ser. No. 60/354,       one and often two or more workers. Any obvious low or high
866, filed Feb. 5, 2002, which are all hereby incorporated         areas are thus detected through ongoing visual inspection by
herein by reference in their entireties.                           the workers and corrections to the concrete elevation or
                FIELD OF THE INVENTION                            thickness are made in anticipation of the action of the
                                                               15 Screeding device. This proceSS is Subject to a number of
   The present invention relates generally to Screeding variables which affect the quality of the surface of the
devices for uncured concrete floors and Surfaces and, more        concrete, including human effort and error.
particularly, to a lightweight Screeding device which may be         Hand Screeding devices are known where a vibratory
moved and guided as a walk behind apparatus over an device is moved over a concrete Surface by hand. Examples
uncured concrete Surface by hand. The lightweight Screed of Such devices are disclosed in U.S. Pat. No. 3,067,656
ing device of the present invention is particularly Suited for issued to Gustafsson; U.S. Pat. No. 5,244,305 issued to
use at both over ground Sites as well as on elevated deck Lindley; and U.S. Pat. No. 5,857.803 issued to Davis et al.
Surfaces, and may be implemented at other uncured concrete However, Such known Screeding devices typically require
Surfaces, Such as interior floors, exterior slabs, roadways, any grade elevation or thickness adjustments of the concrete
ramps, parking areas or the like.                              25 Surface to be performed by manually raking or pre-grading
                                                                  the uncured concrete Surface to a desired grade prior to
          BACKGROUND OF THE INVENTION                             Screeding the Surface with the vibratory Screeding device.
   When forming a concrete slab or floor, the uncured The               manual human effort and Visual inspection process
concrete is placed and Screeded, leveled and/or Smoothed to undesired results
                                                                  typically           in a concrete Surface that is Subject to
obtain a generally flat slab of generally uniform thickness. the quality height      or elevation variation. This directly affects
                                                                              of the finished concrete Surface and is measurable
One known method to obtain a uniform thickness of con
                                                                  in terms of Scientifically accepted Standards known in the
crete of a floor or deck Surface is to use Small pre-fabricated industry
metal Structures or Stands that have Support legs, which may                as “Floor Levelness” (F-1) and “Floor Flatness”
rest directly on the corrugated Sheet metal decking or 35 (F-f).
plywood form-work. A Small plate may be held in position             Therefore, there is a need in the art for an improved
at the height equal to the desired concrete thickness above Screeding method and apparatus or device, which is rela
the metal deck or form work. The manual Screeding proceSS tively Small and maneuverable, for providing a concrete slab
then relies on these Stands as a height gauge. Some devices or deck of generally uniform thickness or elevation without
may even ride along the top Surface of elongated Stands or 40 requiring the additional manual labor processes associated
rails Supported by the Stands Similar to known methods used with metal Stands, wet pads, pre-grading, or the like.
for slabs-on-grade and elevated deck work prior to imple                      SUMMARY OF THE INVENTION
mentation of mechanized laser Screeding. The Stands or rails
may be removed just after the Screeding process completed and vibrating invention
                                                                     The present             provides an apparatus for Screeding
and before the concrete begins to cure. Any remaining holes 45 other materials in areas which maySand,
                                                                                  uncured   concrete,         dirt, gravel and/or
and imperfections are then filled and refinished before the machines and equipment, Such as due to the Spacetolimita
                                                                                                        be  inaccessible    larger
concrete begins to fully harden.                                  tions of Small buildings, or the weight restrictions main
   Another known method for obtaining a uniform thickness tained during the construction of elevated decks and Sur
of concrete on a floor or deck is to provide an ongoing Series faces. The present invention provides a concrete Strike-off
of Small pre-Screeded areas ahead of the actual Screeding 50 and Screeding device or Screed head which is moved around
process. These Small pre-Screeded areas may be generally through human effort and/or through the force of a driven
referred to or known as “wet pads”. A hand trowel may be wheel or wheels. The Screed head includes a concrete
used to strike off a roughly twelve inch (30 cm) diameter Surface working member or device, Such as a vibrating
area of the pre-placed concrete at a desired height or member or beam, and a grade Setting device or member. The
elevation. The height or elevation of each “wet pad” may be 55 Vibrating member is an generally elongated horizontal mem
determined by using a pre-established laser reference plane ber having a Surface area in contact with the Surface of the
provided by a laser transmitter Set-up at the Site, and a uncured concrete. The grade Setting device or member is a
hand-held laser receiver mounted to a pre-Set position on a generally elongated horizontal member located in close
grade-stick. A Series of Small “wet pads” or "Surface pads” proximity, just ahead of, and in parallel with the vibrating
are thus created at the desired thickneSS or elevation of 60 member. The grade Setting device may be constitute a
concrete which Serve as temporary height gages. A manual variety of forms, Such as a Strike-off plow, an auger, a
hand-Screeding method will use a Series of these pads as a flexible belt or chain with attached paddles, a spinning tube,
reference.                                                        or other Such devices or forms for the purpose of engaging
   As a typical example of the procedure, first, two wet pads and imparting the movement of uncured concrete. The grade
are made about ten feet apart. Then, a wooden 2x4 or Similar 65 height or elevation of the grade Setting device is adjustable
Straight edge is used to Strike off approximately a 12 inch (30 via mechanical adjusting devices or electromechanical
cm) wide by 10 foot (3 m) long surface between the two actuators which are preferably operable to automatically
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adjust an elevation of the grade Setting device to a pre contoured plate or pan, a roller track or the like which is
determined desired elevation according to an electronically operable to engage and work the uncured concrete Surface as
Sensed laser plane reference. A pair of laser receivers are the Screeding device is moved over, along and/or through the
mounted to the grade Setting device and are operable to uncured concrete.
Sense or detect the elevation position of the grade Setting           In one form, the grade Setting device of the Screeding
device relative to the laser plane.                                device includes a strike-off member or plow which functions
   The vibrating member generally floats upon or is Sup to strike off the uncured concrete to establish the desired
ported directly on the uncured concrete Surface created by elevation or grade as the Screeding device is moved over the
the grade Setting device ahead of it. With the grade Setting uncured concrete Surface. In another form, the grade Setting
device and laser receiverS fixed together and adjustably device includes an elongated member or tube, which further
attached to the Vibrating member, the laser receivers and includes a plurality of fingers or extensions extending down
automatic control System automatically react to adjust the Wardly therefrom for indicating the desired grade height
elevation of the grade Setting device with respect to the above the Sub-grade, thereby allowing for a reduced need for
newly and continuously created Surface and with respect to creating “wet pads'. Either the lack of contact or marks left
the laser plane reference. This ongoing reference is used to 15 in the concrete by the fingers or extensions would show
correct the elevation of the grade Setting device as the where additional manual filling, or pre-leveling of the con
machine advances over and through the uncured concrete.            crete Surface by workers using concrete rakes or shovels
   For example, when the Screeding apparatus is operating may be desired or necessary.
and producing a concrete Surface to a desired "on grade”              Optionally, the Screeding device may include a means for
result, the relative height of the grade Setting device as moving exceSS concrete from in front of the grade Setting
compared to the vibrating member remains effectively device to either or both sides, or just ahead of the Screeding
unchanged by the control System. Alternately, if the concrete device as the Screeding device is moved through the uncured
Surface produced by the machine, and upon which the Screed concrete. The means for moving exceSS concrete is prefer
head and laser receiverS is riding, is too high, the laser 25 ably positioned along the forward face of the grade Setting
receivers will indicate a “high Signal to the control System., device to engage any exceSS concrete in front of the plow
This “high” signal is then used by the control system to send and to help fill in any low areas as well. The means for
a signal to the respective elevation actuator and accordingly moving exceSS concrete may comprise an auger, a flexible
lower the grade Setting device, quickly working to produce belt or chain with paddles or the like, a rotating or Spinning
a concrete Surface at the correct elevation. Conversely, if the tube, a Secondary plow or Strike-off member, or any other
concrete Surface produced by the machine, and upon which means for moving exceSS concrete to one, both Sides, or just
the Screed head and laser receiverS is riding, is too low, the ahead of the Screeding device, while the device is moved
laser receivers will indicate a “low” signal to the control along and through the uncured concrete. Optionally, the
System. This low Signal is then used by the control System grade Setting device may comprise a means for moving
to Send a signal to the respective elevation actuator and 35 exceSS concrete and may function to cut and establish the
accordingly raise the grade Setting device, quickly produc grade height of the concrete Surface in front of the vibrating
ing a concrete Surface at the correct elevation. In either member.
corrective operating mode, and within the operating range of          The Screeding device is powered via a power Source,
the laser receivers, the corrective action will be a continuous    which may include an internal combustion engine or an
proceSS until the correct elevation is reached by the laser 40 electric motor or any other powered means. The power
receivers and Screed head.                                         Source is operable to provide power to the vibrating member
   The present invention thus provides a Self-correcting and the adjusting devices or actuators.
proceSS along with the ability of the apparatus to be at least        Optionally, the Screeding device includes a wheeled Sup
partially Supported upon the desired correct elevation Sur port frame for partially Supporting at least Some of the
face it creates, as the device itself advances.                 45 components of the Screeding device. The wheels of the
   According to an aspect of the present invention, a Screed Support frame may be powered or rotatably driven to assist
ing device which is movable over a Surface of uncured an operator in moving the Screeding device over the uncured
concrete and is operable to level and Smooth the uncured concrete Surface. The vibrating member and grade Setting
concrete Surface includes a concrete Surface working mem device together generally comprise a Screeding head. The
ber and a grade Setting device. The grade Setting device is 50 Screed head may be adjustably mounted to the wheeled
adjustably mounted to the concrete Surface working member Support frame and may be adjustable to change and adjust an
and is generally vertically adjustable with respect thereto. operating range height or grade of the Screed head relative
The concrete Surface working member is at least partially to the wheeled Support frame. The Screed head may also be
Supported on the uncured concrete Surface, while the grade adjustably mounted to the wheeled Support frame to change
Setting device is adjustable relative to the concrete Surface 55 or adjust a pitch or “angle of attack of the Screed head
working member to at least one of establish and indicate a relative to the wheeled Support frame and the uncured
desired grade for the uncured concrete Surface. The grade concrete Surface. In addition to operating range height and
Setting device thus causes the concrete Surface working pitch adjustments, a means to temporarily raise and then
member to flatten, Smooth, and/or consolidate the uncured          lower the Screed head relative to the Support frame in order
concrete Surface at the desired grade. The height or grade of 60 to clear any low obstacles while moving the apparatus to and
the grade Setting device is preferably adjustable in response from or around the work Site may also be provided. Any
to a laser leveling or laser reference System.                     temporary raising and lowering of the Screed head is not
   Preferably, the concrete Surface working member com intended to affect any established operating range height and
prises a vibrating member or beam which is vibratable to pitch adjustments.
flatten, Smooth and consolidate the uncured concrete while 65 According to another aspect of the present invention, a
being partially Supported thereon. However, the concrete method of flattening or leveling, Smoothing and/or
Surface working member may comprise a roller, a flat or Screeding, and/or consolidating an uncured concrete Surface
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includes providing a Screeding device which includes a             Such as a Strike-off plow or the like, and a means for moving
concrete Surface working member and a grade Setting                exceSS concrete which is operable to move exceSS concrete
device, which is adjustable relative to the concrete Surface       to one side, both sides or just ahead of the vibratable member
working member. The Screeding device is moved over the             and to help fill in any low areas as well. The means for
uncured concrete Surface while the concrete Surface working        moving exceSS concrete may comprise an auger, a flexible
member is at least partially Supported on the uncured              belt or chain with paddles or the like, a rotating or Spinning
concrete Surface. The grade Setting device is adjusted rela        tube, a Secondary plow or Strike-off member, or any other
tive to the concrete Surface working member to at least one        means for moving exceSS concrete to one, both Sides, or just
of establish and indicate a desired height or grade for the        ahead of the Screeding device, while the device is moved
uncured concrete Surface.
   Preferably, the concrete Surface working member com             along and through the uncured concrete.
prises a vibrating member or beam which is vibratable to              According to yet another aspect of the present invention,
flatten, Smooth and consolidate the uncured concrete while         a wheeled Screeding device which is movable over a Surface
being partially Supported thereon. The method then includes        of uncured concrete and which is operable to level, Smooth,
vibrating the vibrating device while the vibrating device is 15 and consolidate the uncured concrete Surface includes a
at least partially Supported on the concrete Surface.              wheeled Support and a Screed head. The wheeled Support
   The grade Setting device may include a visual indication wheel. includes a frame portion movably Supported on at least one
of the desired grade height or may include a Strike-off plow,               The at least one wheel defines an axis of rotation of
auger or the like for plowing or cutting the uncured concrete the wheel and an axis of rotation for the apparatus itself. The
to establish the desired grade height as the Screeding device Screed head is mounted to the frame portion and is at least
is moved over or through the uncured concrete Surface.             partially Supportable on an uncured concrete Surface. The
   In one form, the Screeding device is moved over the Screed head is also pivotable about a Second axis generally
uncured concrete Surface by manually pulling the Screeding horizontal and normal to the first axis of rotation and relative
device while the Screed head, including the Vibrating mem to the at least one wheel to adjust an angle of the Screed head
ber and grade Setting device, and a portion of the Screeding 25 relative to the axis of rotation. The Second axis of rotation
apparatus itself, is Supported by the uncured concrete Sur provides           the Screed head with the capability of a clockwise
                                                                   and/or counterclockwise or roll freedom of movement rela
face. In another form, the Screeding device includes a tive              to the Surface of the uncured concrete and is generally
wheeled Support frame for partially Supporting at least Some parallel        to the direction of travel of the apparatus.
of the weight of the components of the Screeding apparatus.
Optionally, the wheels of the Support frame may be powered            In  one  form, the screed head is pivotable relative to the
or driven to assist an operator in moving the Screeding frame portion. In another form, the Screed head is pivotable
device over or through the uncured concrete Surface.               with the frame portion, which is pivotable relative to the axis
   The grade Setting device may also include a concrete of wheel rotation.
moving device for engaging and moving any exceSS con                  According to another aspect of the present invention, a
crete and to help fill in any low areas as well. The means for 35 method of Smoothing, Screeding, and consolidating an
moving exceSS concrete may comprise an auger, a flexible uncured concrete Surface includes providing a wheeled
belt or chain with paddles or the like, a rotating or Spinning Screeding apparatus which includes at least one wheel and a
tube, a Secondary plow or Strike-off member, or any other Screeding device mounted at the at least one wheel. The at
means for moving exceSS concrete to one, both Sides, or just least one wheel is movable through an uncured concrete
ahead of the Screeding device, while the device is moved 40 Surface. The Screeding apparatus is adjustably and propor
along and through the uncured concrete.                            tionately balanced about the at least one wheel Such that the
   According to another aspect of the present invention, a Screeding device is at least partially Supported on the
wheeled Screeding device which is movable over or through uncured concrete Surface and at least one wheel. The method
a Surface of uncured concrete and is operable to level, includes moving the wheeled Screeding apparatus over and/
Smooth, and consolidate the uncured concrete Surface 45 or through the uncured concrete, and Screeding the uncured
includes a wheeled Support, a Screed head and an adjustment concrete Surface with the Screeding device while the Screed
device. The wheeled Support includes a frame portion Sup ing device is at least partially Supported on the uncured
ported by at least one wheel. The at least one wheel defines Surface.
an axis of rotation of the wheel and a general axis of rotation       Optionally, the method may include adjusting the wheeled
for the apparatus itself. The Screed head is mounted to the 50 Screeding apparatus to adjust a degree or proportion in
frame portion and is at least partially Supportable on an which the Screeding device is Supported on the uncured
uncured concrete Surface. The Screed head is adapted to concrete Surface.
impart a force onto the uncured concrete Surface. The                 Therefore, the present invention provides a lightweight,
adjustment device is operable to adjust a desired degree of easily maneuverable Screeding device which is at least
weight distribution and balance of the apparatus. Therefore, 55 partially Supported on the uncured concrete as it is moved
the balance of the apparatus about the axis of rotation at the over or through the uncured concrete Surface by an operator.
wheeled Support is used to adjust the force imparted by the The relative Small size and portability of this device makes
Screed head onto the uncured concrete Surface.                     it uniquely useful for many concrete construction Site appli
   In one form, the adjustment device includes the addition cations. The Screeding device includes a plow or other grade
or removal of at least one weight at one or both ends of the 60 Setting element or device which is vertically adjustable
wheeled Support or anywhere along the longitudinal axis of relative to a concrete Surface working member or vibrating
the apparatus for adjustment purposes. In another form, the member of the Screeding device to adjust the grade Setting
adjustment device is operable to mechanically adjust a device to the desired grade height as the Screeding device is
position of the axis of rotation relative to the frame portion moved over and Supported on the uncured concrete Surface.
and the center of gravity of the apparatus.                     65 The Screeding device includes an automatic control System
   The screed head may include a vibratable beam or which is responsive to a laser plane or laser-guided reference
member, a grade indicating device, a grade Setting device, for vertically adjusting the grade Setting device to the
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desired grade height. The Screeding device may include a            FIG. 22 is another enlarged perspective view of the
wheeled Support which may be powered to drive one or vibrating device of FIG. 21, with a housing around the
more wheels to move the Screeding device over and through eccentric weight members,
the uncured concrete. In addition to reducing labor and             FIG. 23 is an upper, front perspective view of another
effort, the present invention also provides for improved Screeding device in accordance with the present invention,
accuracy of the Screeded concrete Surface through the use of with an auger mounted forward of the plow and vibrating
an automated control System and on-site laser reference for member;
controlling the elevation adjustment of a grade-setting             FIG. 23A is an upper, front perspective view of the
device. This occurs in conjunction with and just prior to the screeding device of FIG. 23, shown with a 3-D profiler
action of the Vibratory Screeding element Supported by the 1O contouring System including a Sonar height Sensor and a
uncured concrete.
                                                                 laser reflective tracking target, and wheel track filler mem
   These and other objects, advantages, purposes and fea bers just rearward of the wheels;
tures of this invention will become apparent upon review of         FIG. 24 is an upper, front perspective View of yet another
the following specification in conjunction with the drawings. Screeding     device in accordance with the present invention,
                                                              15
       BRIEF DESCRIPTION OF THE DRAWINGS                         with a belt and paddle device adjustably mounted along a
   FIG. 1 is an upper perspective view of a Screeding device forward edge of the vibrating member;
in accordance with the present invention;                           FIG. 25 is an upper, front perspective view of another
   FIG. 2 is a rear end elevation of the screeding device of Screeding device in accordance with the present invention,
FIG. 1;                                                          with a spinning tube device adjustably mounted forward of
   FIG. 3 is a top plan view of the screeding device of FIGS. the Vibrating member;
1 and 2;                                                            FIG. 26 is an upper, front perspective view of another
                                                                 Screeding
   FIG. 4 is a side elevation of the screeding device of FIGS. with a singledevice in accordance with the present invention,
1-3, as it is moved by an operator;                                              wheeled Support;
   FIG. 5 is an enlarged perspective view similar to FIG. 1;  25    FIG. 27  is an upper, front perspective view of yet another
   FIG. 6 is an enlarged perspective view of the area VI in with a housing inaround
                                                                 Screeding  device      accordance with the present invention,
                                                                                             the components carried on the
FIG. 5;                                                          wheeled   Support;
   FIG. 7 is an enlarged perspective view of the area VII in
FIG. 5;                                                             FIG. 28 is an hydraulic Schematic diagram exemplary of
   FIG. 8 is an enlarged side elevation similar to FIG. 4;       an  hydraulic control System useful with a Screeding device
   FIG. 9 is an enlarged perspective view of a vibrating         of the present invention;
device with eccentric weight members useful with the working 29A    FIG.
                                                                           device
                                                                                 is a perspective view of another concrete
                                                                                   in accordance with the present invention;
screeding device of FIGS. 1-8;
   FIG. 10 is an upper perspective view of another Screeding 35     FIG.  29B   is a  side elevation of the concrete working
device in accordance with the present invention;                 device of FIG. 29A;
   FIG. 11 is a lower perspective view of the screeding             FIG. 29C is a top plan view of the concrete working
device of FIG. 10;                                                   device of FIGS. 29A and 29B;
  FIG. 12 is an upper perspective view of another Screeding     FIGS. 30A-C are views and elevations similar to FIGS.
device in accordance with the present invention, with a 40    29A-C   of another concrete working device in accordance
wheeled frame Structure;                                      with the present invention; and
  FIG. 13 is a side elevation of the screeding device of FIG.   FIGS. 31 A-C are views and elevations similar to FIGS.
12 in use by an operator;                                     29A-C of another concrete working device in accordance
  FIG. 14 is a top plan view of the screeding device of with the present invention.
FIGS. 12 and 13;                                                45
                                                                             DESCRIPTION OF THE PREFERRED
  FIG. 15 is a front end elevation of the screeding device of                        EMBODIMENTS
FIGS. 12-14;
   FIG. 16 is an upper, rear perspective view of another trative    Referring now specifically to the drawings and the illus
Screeding device in accordance with the present invention, 50 includesembodiments
                                                                          a Screeding
                                                                                      depicted therein, a Screeding device 10
                                                                                      head  11, which includes a grade Setting
with a wheeled frame structure;
                                                                 or indicating device, Such as a Strike-off plow 12, and a
   FIG. 17 is an upper, front perspective view of the screed vibratory
ing device of FIG. 16;                                                      beam or member 20 (FIGS. 1-8). Plow 12 is
                                                                 attached to
   FIG. 17A is an upper, front perspective view similar to and is vertically a framework 14 by two small sets of linkages 16
                                                                                  adjustable relative to the framework 14 by
FIG. 17, with the power source omitted to reveal additional 55 a pair of elevation actuators 18 (FIGS. 1-8). Vibratory beam
details of the wheeled Support;                                  or member 20 is mounted to the framework 14. Screeding
   FIG. 17B is an enlarged perspective view similar to FIG. device 10 is at least partially Supported on an uncured
17A, with the screeding head omitted for clarity;                concrete Surface and moved along and over the concrete
   FIG. 18 is a side elevation of the screeding device of Surface to Screed and Smooth the Surface Via Vibration of the
FIGS. 16 and 17 in use by an operator;                        60 vibrator beam 20 as the vibrator beam 20 floats on or is at
   FIG. 19 is a top plan view of the screeding device of least partially Supported on the uncured Surface. The plow
FIGS. 16-18;                                                     12 is adjustable with respect to the vibrator beam 20 to
   FIG. 20 is a front end elevation of the screeding device of adjust a level or grade of the uncured concrete to a desired
FIGS. 16-19;                                                     grade as Screeding device 10 is moved along and over the
   FIG. 21 is an enlarged perspective View of a vibrating 65 uncured concrete.
device with eccentric weight members useful with the                Plow 12 includes a plow blade or edge 12a and a
screeding device of FIGS. 16-20;                                 generally rigid structural member or metal extrusion 12b
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extending laterally along the blade 12a (FIGS. 7 and 8). The      for raising or lowering the plow relative to the vibrator
Structural member 12b provides a mounting Surface for             beam, Such as hydraulic cylinders or the like, without
mounting plow 12 to the linkages or actuators, as discussed       affecting the Scope of the present invention. The position or
below, and provides structural rigidity to plow 12 to limit or    amount of extension of each actuator 18 may be indepen
substantially preclude deflection of plow 12 as plow 12           dently adjusted, Such as through a range of approximately 4
engages the uncured concrete. The blade 12a and casing 12b         inches (100 mm), and may be controlled by output signals
of plow 12 and/or other components or elements of the plow         from an onboard electronic control box 21 (FIGS. 1,3,4 and
may be welded or riveted together or may be otherwise              8).
Secured together via any other means, Such as a double sided          The parallel linkages 16 function to maintain horizontal
adhesive tape, such as VHB adhesive tape available from            attachment of the plow 12 to the framework 14 as the plow
3M Scotch Brand of the 3M Company of St. Paul, Minn.,              is raised or lowered by the actuators 18. As best seen in
USA, or the like, without affecting the Scope of the present       FIGS. 7 and 8, each set of linkages 16 includes a pair of
invention.                                                         generally parallel links 16a, 16b, which are pivotally
                                                               mounted to Side frame member 14d at one end and to a
   Vibrator beam or member 20 is a generally flat member generally
extending laterally outwardly in opposite directions from a 15 is Securedvertical
                                                                          to a
                                                                                  link 16c at the other end. Vertical link 16c
                                                                               rear portion of the plow 12. Actuators 18 are
pair of frame members 14d of framework 14. Vibrator beam connected to generally
20 may be any vibratable member and preferably has a and lower vertical linkvertical            link 16c and function to raise
generally planar, flat and Smooth lower Surface for engaging Vertical, linear, reciprocal16c   and plow 12 in a generally
                                                                                            direction by pulling or pushing
and working the uncured concrete Surface. In the illustrated link 16c toward or away from the actuator, while links 16a,
embodiment, Vibrating beam 20 extends along a longitudinal 16b function to maintain the plow in its generally vertical
axis 20a and includes a lower, generally flat planar portion orientation during Such reciprocal movement via pivotal
20c and a pair of generally vertical walls 20d extending movement of links 16a, 16b relative to frame member 14d
therealong to Strengthen the planar portion and limit or and center link 16c. The linkages 16 thus limit or substan
substantially preclude deflection of the beam (FIG. 1). tially preclude pivotal movement of the plow as it is verti
Similar to plow 12, discussed above, the components of 25 cally adjusted by actuators 18, Such that plow 12 remains
vibrator beam 20 may be welded or riveted together or may generally parallel to vibrator beam 20 regardless of the
be otherwise Secured together via any other means, Such as vertical position of plow 12 relative to vibrator beam 20.
a double sided adhesive tape, such as “Scotch VHB” (Very             The side frame members 14d of framework 14 are con
High Bond) adhesive tape available from the 3M Company             nected together by a pair of generally parallel rods or
of St. Paul, Minn., USA or the like, without affecting the         members 15 extending generally along the plow 12 and
Scope of the present invention. The length and width of vibrator beam 20. The rods 15 are furthersecured to a central
vibrator beam 20 may be selected to provide a large enough frame portion 14b of framework 14, which extends
footprint of the lower Surface of the beam such that vibrator upwardly from the plow 12 and vibrator beam 20 for
beam 20, along with the screeding device 10, floats on or is mounting a vibrator drive motor or power source 30 and for
at least partially Supported on the uncured concrete Surface. 35 providing an operator control handle 14a and a lifting handle
Although shown and described as having a vibrating beam, 14c for screeding device 10.
the Screeding device and/or Screed head may alternately              Vibration of vibrator beam 20 is accomplished by a
include any other type of concrete Surface working device or powered vibrator device 31, which is powered by power
member, Such as a roller, a flat or contoured plate or the like, source 30 (FIGS. 1, 6, 8 and 9), such as a gasoline powered
which engages and works the uncured concrete Surface to 40 drive motor or engine, or a battery powered drive motor, or
flatten and/or Smooth the concrete Surface as the Screeding the like. As shown in FIG. 9, vibrator device 31 includes a
device is moved over and along the uncured concrete.              pair of eccentric weight shafts or members 32a, 32b, which
   The levelness or curvature of the plow and/or the vibrator are rotatably driven via a flexible drive shaft 34 from power
beam may be adjustable to maintain or adjust the contacting Source 30. Flexible drive shaft 34 is operatively connected
or engaging Surface at a generally Straight or level 45 to one of the eccentric weight members (such as member
orientation, in order to further limit or Substantially preclude 32a) with spur gears or the like (not shown) to rotatably
deflection of the beam. This may be accomplished by drive eccentric weight member 32a.
adjustable tensioning cables and/or rods extending along the         As shown in FIG. 9, eccentric weight members 32a and
plow and/or beam, Such as by using the principles disclosed 32b include an eccentrically weighted portion 32c, which is
in U.S. Pat. No. 5,234,281 for DEFLECTION INDICAT 50 offset from the central axis of rotation, and a circular portion
INGADJUSTABLE HIGHWAYSTRAIGHTEDGE, which                          32d with gear teeth 32e, which is concentrically mounted on
is hereby incorporated herein by reference.                       the central axis of rotation. Eccentric members 32a, 32b are
   Plow 12 is adjustable relative to vibrator beam 20 via engaged together via gear teeth 32e, Such that rotation of one
pivotal movement of linkages 16 and in response to actua eccentric weight member 32a about its central axis of
tors 18. Linkages 16 and actuators 18 are mounted to a pair 55 rotation rotatably drives the other eccentric weight member
of side frame members 14d, as best seen in FIGS. 5, 7 and         32b in the opposite direction about its respective central axis
8. The actuators 18 control the vertical elevation of the plow of rotation. The rotation of the eccentric weight members
12 in relationship to the framework 14 and vibrator beam 20 32a, 32b causes the vibration in the beam 20 to be directed
via pivoting of the linkages 16 relative to plow 12 and to act in a primary axis matching the elongated axis 20a
framework 14. Because the actuators are generally fixedly 60 (FIG. 1) of the vibrator beam 20, while also serving to
mounted to the frame members 14d and, thus, to the vibrator       reduce or cancel Vibration in the horizontal axis perpendicu
beam 20, actuation of the actuators functions to lower or         lar to the vibrator beam 20. The eccentric weight members
raise the plow relative to the vibrator beam. The actuators 18 thus allow the vibration to be tailored in a desired plane,
are powered by a power Supply, Such as a 12-volt DC while Substantially precluding vibration in an undesired
electrical power Source, Such as an alternator 36 including an 65 plane.
AC to DC power converter and a voltage regulator (not                Each of the eccentric weight members 32a, 32b is
shown). Optionally, the actuators may be any other means mounted between a pair of bearing members 38a, 38b,
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which are mounted (such as bolted or welded or the like) to       control circuits, without affecting the Scope of the present
a respective one of upper and lower mounting plates 40a,          invention. Optionally, the elevation of plow 12 may be
40b (FIG. 9). As shown in FIGS. 5 and 6, the lower                manually adjusted during operation by the operator, Such as
mounting plate 40b is then mounted between a forward plate        via mechanical adjustments or override electrical control
42a and a rearward plate 42b of the vibrator beam 20 via a        actuation of actuators 18, without affecting the Scope of the
pair of fastenerS or bolts 44 extending through a pair of         present invention.
generally cylindrical mounting members 40c of lower                  An electric alternator 36 (FIGS. 1, 5 and 6), which is
mounting plate 40b. The lower mounting plate 40b, and thus        driven by the engine 30 and flexible shaft 34, provides
the vibrator beam 20, is also mounted to lower brackets or        electrical power to the laser receiverS 22, an elevation
plates 46, one on each of the central frame portions 14b, via control,      control box 21, electrical circuit (not shown), and
one or more rubber sandwich mounts 28 (such as four in the plow elevation
illustrated embodiment), which also help serve to dampen 6, alternator 36 actuators             18. As shown in FIGS. 1-3, 5 and
                                                                                     may be positioned at a lower portion of the
the transmission of beam vibration to the support frame 14 framework 14 and at a central portion of the beam 12 and
and operator handle 14a of screeding device 10.                   plow 20. Optionally, the alternator, dynamo, or generator 36
   In the illustrated embodiment, vibrator power source 30 is 15 may be incorporated into the design of the internal combus
an internal combustion engine. Optionally, however, the tion engine, without affecting the Scope of the present
power Source 30 may include an electric drive motor, Such invention.
as a battery powered motor or the like. For example, the             Screeding device 10 is movable and operable by being
operator using the Screeding device may carry a battery pack
for powering the vibrator device. The battery pack may in FIG.by4)human
                                                                  pulled               effort (in the direction of arrow A as shown
                                                                                over and/or through freshly poured and uncured
include a motorcycle battery or the like or a Nickel Metal concrete. Laser
Hydride pack or the like, or any other power Source which established laser receiverS  plane
                                                                                                  22 are Set to Sense or detect the
                                                                                              reference  24, Such that the height of
provides sufficient power for driving the vibrator device 31. the desired concrete grade is established             by the strike-off
Such a battery pack may provide a Sufficient power Source plow 12, which is vertically adjusted relative
for the vibrator device, while reducing the weight of the 25 beam 20 in response to the laser receiverS 22 andtoactuators   vibrator
Screeding device and also providing a quieter Vibrator 18. The floating action of the vibrator beam 20 over the
device. Alternately, the Screeding device of the present uncured concrete then continues to consolidate, Smooth,
invention may also be electrically powered through use of a level and finish the uncured concrete Surface. Should laser
power Supply cable connected to a remote electric power receiverS 22 Sense a laser plane Signal 24 that is either high
Supply. It is further envisioned that compressed air may be
utilized to power the vibrating means of the vibrator device or      low, an output signal from the control box 21 automati
                                                                  cally  adjusts the appropriate elevation actuator or actuators
31 and the elevation actuators through electrically controlled 18 to correct
Solenoid air valves. Therefore, the present invention may be to the desiredthegrade.  elevation of the plow 12, returning the plow
operable via any power means, Such as via an internal
combustion engine, electrically via a power cord or battery, 35 Many components of screeding device 10 are preferably
and/or pneumatically via a compressed air Source and hose, made from aluminum using known methods of fabrication
or any other means for providing power to the components and materials including commercially available dimensional
of the Screeding device, without affecting the Scope of the metal Stock, extrusions, castings, or machined components
present invention.                                                and other lightweight materials. The illustrated embodiment
                                                                  of  FIGS. 1-9 of the present invention preferably weighs
   The elevation of the plow 12 is adjustable relative to the 40 approximately
beam 20, preferably in response to a laser plane System.                            60 lbs. (27.2 kg.), but may weigh more or less
Optionally, and preferably, the control box 21 for controlling    than  this,  without   affecting the Scope of the present inven
the actuators 18 receives input signals from each of a pair of tion.    This makes the device portable and manageable by one
laser receivers 22 (FIGS. 1-4), which each sense the eleva operator
                                                                  increase
                                                                              or worker. Further weight reduction or even an
                                                                             in  size and capacity of the device without adding
tion of a fixed laser plane reference 24 (FIG. 1) that has been additional weight
                                                               45
established over the job Site by a separate rotating, laser weight is possible orthrough   without adding a significant amount of
plane generator or projector (not shown), as is commonly Such as magnesium, plastic,theoruse               of even lighter materials
                                                                                                        carbon  fiber composites.
known in the industry. Each laser receiver 22 is mounted to
a Support rod or mast 26 which is in turn mounted to the             Plow 12 and vibrator beam 20 are preferably of such
grade Setting device or Strike-off plow 12. Laser receivers 22 50 length to allow and enable the screeding device 10 to be
may be any Suitable type of laser receiver, Such as a Spectra easily maneuvered by a Single operator. Various lengths
Precision “R2N”, “GCR', or Combi CR600 laser receiver                and/or sizes of the Screed head are available for the device
available from Trimble Engineering and Construction Divi and easily interchanged as needed. For example, the plow
sion of Dayton, Ohio, USA, or the like. The laser receivers and beam may be approximately six feet (183 cm) or less,
may be adjustably mounted to masts 26 or the masts may be 55 which is a manageable length, yet the Surface area of the
telescoping masts to facilitate Vertical adjustment of the Vibrator is of Such design and dimension that there remains
laser receivers relative to the grade Setting device or plow. a Sufficiently low contact preSSure on the concrete Surface.
The masts 26 and laser receiverS 22 of the laser plane System However, other lengths may be implemented as desired for
may be positioned toward laterally outward ends of the plow Specific working applications without affecting the Scope of
(as shown in FIGS. 1-3) or, alternately, toward a center 60 the present invention. Preferably, the length of the screed
region or centerline, where they are generally aligned and head is Selected to be short enough to allow for easy
in-line with the actuators 18 (as shown in FIGS. 10 and 11 maneuverability and handling and not So long as to avoid
and as discussed below) in order to accommodate the excessive labor during use through raking large amounts of
relative response of the laser-controlled elevation actuators material in advance of the plow or grade Setting device.
and control System. Optionally, the closed-loop System 65 Optionally, the plow and vibrating beam may have adjust
response may be changed electronically, Such as by adding able lengths. So as to be adaptable for different applications.
an adjustable potentiometer or variable capacitor to the For example, the plow 12 and vibrating beam 20 may
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include bolt-on sections 12c, 20b (FIG. 1), respectively, of        Referring now to FIGS. 12-15, a wheeled screeding
different sizes, or may include other eXtensions or wings,       device 210 includes a screeding head 211, which includes a
which may be bolted to either or both ends of a central,         vibrator beam or member 220, attached to a framework 214.
shorter plow and beam. This allows the operator to vary the      The framework 214 includes two pairs of spaced side frame
length of the plow and beam (and thus the width of the           members 214d which are connected together by a pair of
Screeding device) depending on the particular application.       generally parallel rods 215, similar to frame 14 discussed
For example, the lengths of the vibrating beam and plow above. Rods 215 are also connected to a central frame
may be adjusted between approximately three feet and portion 214b of framework 214, each side of which is further
approximately twelve feet via attachment or detachment of connected to a pair of generally parallel linkages 214e, 214f
various Sections. Optionally, the rotational Speed of the (in the illustrated embodiment, linkage 214f is generally
Vibrating members and the mass and sizes of the eccentric parallel to and above linkage 214e at each Side of the
weights may be adjustable to accommodate different length wheeled Support 217). The spaced, parallel linkages 214e,
beams and/or plows.                                              214fare connected to a rear end 217a of a wheeled support
   Referring now to FIGS. 10 and 11, a screeding device 110 217, and are pivotable to adjust the framework 214, and thus
is shown which is Substantially Similar to the Screeding 15 the vibrating beam 220, relative to wheeled support 217, as
device 10, discussed above. Screeding device 110 includes discussed below.
a screeding head 111, which includes a vibrator beam 120           Wheeled support 217 includes a pair of wheels 217b
and a grade Setting or grade indicating device 112. AS best rotatably mounted at opposite ends of a laterally extending
shown in FIG. 11, grade indicating device 112 includes an frame portion 217c. A handle 217d extends upward and
elongated member or tube 113a which further includes a forward from a forward end 217e of wheeled support 217
plurality of indicators, Such as fingers or extensions 113b, and may be grasped and pulled or pushed by an operator
Spaced along the lower Surface of the tube 113a and extend (shown moving the device in the direction of arrow Ain FIG.
ing downwardly therefrom. Grade indicating device 112 is 13) over and through the uncured concrete surface. The
adjustable relative to vibrator beam or member 120 in wheels 217b may be freely rotatable at each side of the
response to actuators 118 and a control 121 to indicate to an 25 wheeled support 217 or may each be powered or driven via
operator of screeding device 110 the desired grade of the a drive motor 217f to further enhance maneuverability and
uncured concrete Surface. Either a lack of contact or marks      mobility of the screeding device 210. The drive motor or
left in the concrete by the fingers or extensions 113b may motorS for the wheels may be independently operable and
indicate an area or areas where additional manual filling, or may be electric, hydraulic or any other means for rotatably
pre-leveling of the concrete Surface by workers using con driving the wheels, without affecting the Scope of the present
crete rakes or shovels may be necessary or desired.              invention.
   Screeding device 110 also includes a pair of laser receiv       Vibrator beam 220 is mounted to framework 214 in a
ers 122 mounted to generally vertical rods 126, which are in Similar manner as discussed above with respect to Screeding
turn mounted to elongated tube 113a, with the laser receivers device 10, Such that a detailed discussion will not be
122 and rods 126 being mounted to tube 113a toward a 35 repeated herein. Likewise, Screeding device 210 includes a
central portion of Screeding device 110, rather than at the powered vibrator device 231, with a power source (not
outer ends of the grade Setting device, as shown in FIGS. shown) preferably mounted at wheeled support 217, for
1-3 with respect to screeding device 10. In the illustrated causing vibration of the vibrating beam 220, such as by
embodiment, the rods 126 are positioned and aligned to be rotatably driving a pair of counter rotating eccentrically
generally in-line with the elevation actuators 118. As dis 40 weighted shafts or members (also not shown) at vibrating
cussed above, positioning the rods and laser receivers in this beam 220, as discussed above with respect to Screeding
manner effectively accommodates for the relatively quick device 10.
System response of the laser-controlled elevation actuators        Although not shown in FIGS. 12-15, screeding head 211
118, in order to enhance control of the height of tube 113a of Screeding device 210 may also include a plow or other
and fingers 113b relative to vibrator beam 120.               45 grade Setting device or member, Such as a visual indicator,
   Preferably, the fingers 113b of tube 113a are generally Such as fingers or extensions along a tube, Such as discussed
Straight wire fingerS Spaced approximately one to two inches above with respect to screeding device 110, or the like. The
apart along the tube and extending generally vertically grade Setting device may be adjustably mounted to the Side
downward therefrom, with the bottom of the fingers termi frame members 214d and vertically adjustable relative to the
nating at the desired grade when the elongated tube is Set at 50 Vibrating beam 220, Such as via a pair of elevation actuators
the appropriate level. The fingers 113b may be substantially (not shown), Such as in a similar manner as discussed above
rigid or they may be flexible and may flex as they contact the with respect to screeding devices 10 and 110. Also, the
uncured concrete surface. The fingers 113b thus provide a elevation actuators may be operable in response to a laser
Visual indication of the desired grade to the operator and plane detection System via a pair of laser receivers (also not
workers, but do not necessarily function to plow or rake to 55 shown) mounted to the vibrating beam.
move Substantial amounts of material as Screeding device           The operating range height of the vibrating beam 220 may
110 is pulled or moved over the concrete. Fingers 113b may be manually adjusted relative to the level of the wheels 217b
be suitable for wider screeding devices where the additional via an adjustment device 221 (FIGS. 12-14). This adjust
weight of having a wider plow 12 (as shown in FIG. 1) may ment is desirable to correspond to the thickness of the
become a disadvantage in using the Screeding device. Thus, 60 concrete slab where the vibrating beam 220 rests upon the
workers or rakerS may remove exceSS concrete or fill in uncured concrete and the wheels 217b may rest upon the
concrete or "rake' the concrete (using Suitable hand tools or Sub-grade Surface and drive through and/or over the uncured
the like) to the approximate elevation of the fingers. The concrete. The adjustment device 221 may be an actuator, a
fingers 113b provide a visible indicator which acts as a threaded rod, turnbuckle, or any other eXtension and retrac
gauge for the workers to See how much concrete they need 65 tion device or the like, and is operable to adjust the height
to remove or add to obtain the desired grade level in front of of the vibrating beam 220 relative to the wheeled support
the screeding device 110.                                        217. As can be seen from FIGS. 12 and 13, extension and
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retraction of adjustment device 221 causes the frame 214 supported by the wheels 217b. With the addition of a power
and Vibrating beam 220 to lower and raise, respectively, Source 30, electronic controls 21, and laser receivers 22 (as
relative to wheeled support 217 via pivotal movement of shown in FIG. 1 and FIG. 10), and wheel drive motors 217f,
both sets of parallel linkages 214e, 214f simultaneously further advantages of Screeding device 210 may be achieved,
relative to rear end 217a of wheeled Support and correspond as will be described below.
ing pivotal movement of central frame portion 214b relative      Optionally, an upper portion of wheeled Support 217 may
to both sets of parallel linkages 214e, 214f. The movement be pivotally mounted to laterally extending frame portions
of linkages 214e, 214f relative to wheeled support 217 and 217c and wheels 217b Such that the frame portion may be
of frame portion 214b relative to linkages 214e, 214f pro pivoted Side to Side, providing a roll action as needed
vides generally vertical reciprocal movement of frame por through an axis 217i with respect to the direction of travel
tion 214b relative to wheeled support 217, such that frame of screeding device 210. Such pivotal movement allows for
portion 214b remains in generally the same orientation as adjustment of the plane of the vibrating beam 220 about
the frame portion 214b is raised or lowered relative to longitudinal axis 217i of wheeled support 217.
wheeled support 217.                                             Referring now to FIGS. 16-20, a powered wheeled
   Adjustment device 221 may be manually rotated or actu 15 screeding device 310 includes a screeding head 311, which
ated to retract or extend and functions to raise and lower     includes a grade Setting member or Strike-off plow 312 and
central frame portion 214b relative to wheeled support 217, a vibrating beam 320, attached to a framework 314. Frame
while linkages 214e, 214f function to maintain the vibrating work 314 is adjustably mounted to a wheeled support 317
beam in its generally horizontal orientation or at its desired and is adjustable to adjust a position or orientation of
pitch during Such vertical movement. The linkages 214e, screeding head 311 relative to wheeled support 317. The
214f thus limit or substantially limit or preclude rotation of wheeled support 317 includes a pair of powered drive
vibrating beam 220 about its longitudinal axis 220a (FIG. wheels 317b and is movable or drivable over and/or through
12) as vibrating beam 220 is vertically adjusted to various    the uncured concrete.
operating range heights. Additionally, either or both of the      Wheeled support 317 includes a pair of wheels 317b at
linkages 214e, 214f may be replaced with adjustment 25 opposite ends of a laterally extending frame portion 317c. A
devices that are operable to adjust the relative angle or pitch handle 317d extends upward and forward from a forward
of the framework 214, central frame portion 214b, and end 317e of wheeled Support 317 and may be grasped and
vibrating beam 220 relative to both the wheeled support 217 pulled or pushed by an operator to move and/or Steer
and the generally horizontal work Surface. The adjustment Screeding device 310 over and through the uncured concrete
devices may be an actuator, a threaded rod, turnbuckle, or surfaces or the like. Preferably, each wheel 317b is powered
any other extension and retraction device or the like, without or driven by its own drive motor 317f positioned at each
affecting the Scope of the present invention, and are thus wheel to further enhance maneuverability and mobility of
operable to adjust the “angle of attack of the vibrating beam the screeding device 310. In the illustrated embodiment,
220 relative to the wheeled support 217.                        drive motors 317f are hydraulic motors powered by the
   During use, an operator pulls, drives or otherwise moves 35 power Source 330 (which may include an engine, an hydrau
wheeled screeding device 210 in the direction shown by lic pump and a reservoir for hydraulic fluid or oil), which is
directional arrow A in FIG. 13 to move wheels 217b along operable to provide pressurized hydraulic fluid to the motors
and through the uncured concrete Surface and to move 317 f and other hydraulically controlled cylinders and
vibrating beam 220 and the plow over the uncured concrete motors, as discussed below. However, drive motors 317f
Surface to consolidate, Smooth, level and/or flatten the 40 may be any other means for rotatably driving the wheels of
Surface at a desired grade. Vibrating beam 220 and any plow the Screeding device, Such as electric, pneumatic, or the like,
or other grade Setting device as disclosed herein also move without affecting the Scope of the present invention.
or cause Sufficient concrete to fill in the tracks created by Optionally, the drive means for the wheels may include a
wheels 217b passing through the uncured concrete ahead of motor positioned above the central portion or axle 317 w of
Vibrating beam 220. The operating range height of the 45 the wheels 317b which is operable to drive the wheels via a
vibrating beam 220 may be set relative to wheels 217b via chain drive mechanism and/or drive shafts (not shown), Such
adjustment device 221 and maintained at that level relative that the drive means is positioned Substantially above the
to the wheeled Support. The desired grade elevation may axles of the wheels, thereby providing increased ground
also be adjusted by adjusting a plow (Such as a plow of the clearance for the wheeled Support.
types discussed above and shown in FIG. 1 and FIG. 10), or 50 Additionally, power source or motor or engine 330 may
other grade setting device or member (not shown in FIGS. be operable to actuate or energize an hydraulic motor 331a
12–15) relative to the vibrating beam 220 via elevation        (FIGS. 16 and 21) of a vibration device 331, which is
actuators or the like, Such as discussed above with respect to operable to cause vibration of the vibrating beam 320, in a
screeding devices 10, 110 and shown in FIGS. 1, 10, Similar manner as described above with respect to vibration
respectively, while the Screeding device is moved over and 55 device 31. In the illustrated embodiment, power source 330
through the concrete Surface.                                  is an internal combustion engine driving at least one hydrau
   Vibrating beam 220, and/or any other grade Setting lic pump (for example, the power Source may drive two
device, may at least be partially Supported by a wheeled hydraulic pumps 975a,975b (as in a preferred embodiment,
support 217 of the screeding device 210, and may include a of which an hydraulic diagram 997 is shown in FIG. 28) or
wider or longer vibrating beam and plow than the non 60 more hydraulic pumps, without affecting the Scope of the
wheeled screeding devices 10 and 110, as discussed above. present invention) and includes a fluid reservoir system 996
For example, Screeding device 210 may optionally include (FIG. 28) for providing pressurized fluid to actuators or
a vibrating beam 220 of approximately 6 feet (1.83 m), 7 feet hydraulic cylinders 318, 321 and hydraulic motors 331a,
(2.13 m), 8 feet (2.44 m), 10 feet (3.05 m), 12 feet (3.65 m) 317f of screeding device 310 via a plurality of Solenoid
or the like, in order to cover a desired amount of Surface area 65 valves and hydraulic controls 330b (FIGS. 16 and 17).
with each working pass of the Screeding device. The addi Power source 330 is operable to drive or actuate the hydrau
tional weight of larger members is thus at least partially lic motor 331a of vibration device 331 via hydraulic lines
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(not shown). In the illustrated embodiment, wheeled support    310 includes grade setting member or strike-off plow 312,
317 includes a pair of spaced plates 333 mounted at either which is adjustably mounted to each of the side frame
end of cross member 317i for supporting the hydraulic members 314d via a pair of parallel, plow adjusting linkages
valves and controls 330b. Optionally, the power source 330 (not shown in FIGS. 16-20) and an elevation cylinder or
may include an electric storage battery 330a, which may be actuator 318, in a manner Similar to that discussed above in
positioned at the wheeled support 317, or within a battery Screeding device 10. The parallel linkages function to main
mounting support 317g near handle 317d. Alternately, the tain horizontal attachment and generally parallel alignment
power source 330 may include an electric drive motor, such of plow 312 relative to framework 314 as the plow is raised
as a battery-powered motor, a power-cord Supplied motor, a or lowered by actuators 318. The linkages thus limit or
compressed-air Supplied pneumatic motor, or the like, with substantially preclude pivotal movement of the plow 312 as
out affecting the Scope of the present invention.              it is vertically adjusted by actuators 318. Preferably, eleva
   In a preferred embodiment, screeding device 310 may tion actuators 318 are operable to adjust the position of plow
also include controls for controlling the drive motorS or 312 relative to vibrating beam 320 in response to an on-site
drive means of the wheels through a range of Selectable or laser plane reference System and a laser receiver 322 posi
infinitely variable speeds as desired by the operator. For 15 tioned at a generally vertical rod or post 326 extending
example, the controls may be manually actuated to drive the upwardly from plow 312 at or near each actuator 318, all as
wheels in a forward direction or a reverse direction and may described above with respect to screeding devices 10 and/or
be actuated to drive the wheels independent from one 110.
another to assist in Steering or turning the Screeding device.    Optionally, screeding head 311 may be detachably
Optionally, the controls may include a cruise control type
control System which is operable to maintain a generally mounted to wheeled support 317, such that different length
constant drive Speed of the device as the Screeding device or different sized vibrating beams, plows, or Strike-off
moves over and through the uncured concrete.                   devices, which may include various lengths of approxi
   Preferably, in a manner similar to vibration device 31 mately 6 feet (1.83 m), 7 feet (2.13 m), 8 feet (2.44 m), 10
(FIG. 9) discussed above, vibration device 331 includes a feet (3.05 m), 12 feet (3.65 m) or the like, may be mounted
pair of counter rotating eccentrically weighted Shafts or 25 to the wheeled Support in order to cover a desired amount of
members 332a, 332b (FIG. 21), which are rotatably driven Surface area with each pass of the Screeding device, depend
by gears 332e at vibrating beam 320, as discussed above ing on the particular application. Preferably, the Screeding
with respect to screeding device 10. Because vibration head 311 is easily detachable and mountable to wheeled
device 331 is substantially similar to vibration device 31 Support 317, Such that the Screeding head may be easily
discussed above, a detailed discussion of Vibration device     removed for transportation of the Screeding device from one
331 will not be repeated herein. Briefly, one of the eccentric work site to another. In the illustrated embodiment, the
weight members 332a may be rotatably driven by hydraulic wheeled Support and wheels are preferably of Such dimen
motor 331a. The eccentric weight members 332a and 332b Sions that the device may be moved or driven through a
are engaged with one another via gear teeth 332e, Such that Standard sized door opening, Such as a 36 inch (91 cm) wide
rotation of member 332a causes a corresponding, opposite 35 Service door opening of a building, when the Screeding head
rotation of member 332b. As also discussed above, the          is temporarily removed from the wheeled Support and manu
vibrating beam 320 may be attached to the vibrating device ally carried through Such a door opening by work perSonnel.
331 via cylindrical mounting members 340c, while the              Optionally, the screeding head 311 may be adjustably
lower mounting plate 340b of vibrating device 331 is mounted to wheeled support 317, such that the screeding
mounted to the framework 314 through one or more vibra 40 head may be pivoted about a longitudinal axis 317i (FIGS.
tion isolator or elastic rubber sandwich mounts 314e (FIG.      17A, 17B and 19), which is generally parallel to the direc
17), which serves to help dampen the transmission of beam       tion of travel of the Screeding device, and/or about an axis
vibration to the Support frame 314 and to the wheeled           320b generally parallel to the longitudinal axis 320a of the
support 317 and operator handle 317d. The eccentric weight vibrating beam (FIGS. 16 and 17). The screeding head 311
members 332a and 332b are preferably indexed relative to 45 may thus be adjustable about one or more axes to a desired
each other by means of the gear teeth 332e such that the orientation with respect to the wheeled Support. The Screed
vibration of the beam 320 is directed to act in a primary axis ing head may include a leveling System which functions to
matching the elongated axis of the vibrator beam 320, while level the Screeding head relative to the wheeled Support or
also Serving to reduce, minimize, or cancel vibration in the relative to a generally horizontal plane in response to an
horizontal axis perpendicular to the vibrator beam 320. The 50 angle or level Sensor. It is further envisioned that the
eccentric weight members thus allow the vibration displace Screeding head may be Substantially fixed or locked in a
ment to be primarily directed in a desired plane, while desired orientation relative to the wheeled Support to limit
Substantially precluding vibration displacement in an undes pivotal movement of the Screeding head about one or both
ired plane. Optionally, the Speed of rotation of the eccentric axes during operation of the Screeding device, without
weight members may be adjustable to a desired Speed 55 affecting the Scope of the present invention.
depending on the particular application of the Screeding           Framework 314 includes two pairs of spaced side frame
device and/or the length of the plow and/or beam mounted members 314d which are connected together by a pair of
to the Screeding device. Optionally, the mass of the eccentric generally parallel rods 315, similar to frames 14 and 214
weight members may be changed or adjusted through the discussed above. The rods 315 are also connected to a
addition or Subtraction of weight from each eccentric weight 60 central frame portion 314b of framework 314, which is
member, or through replacement of the eccentric weights. AS adjustably mounted to a rear end 317a of wheeled support
shown in FIGS. 16 and 22, vibrating device 331 is preferably 317 via a pair of linkages 323 and an adjustable member
substantially encased within a housing 331b to protect the 325, such as a turnbuckle or the like. Adjustable member 325
eccentric weight members, gear teeth, and Shaft bearings is mounted between a cross member 317i of wheeled
from the elements.                                            65 support 317 and the central frame portion 314b of frame
   Similar to screeding head 11 of screeding device 10, work 314, and is adjustable to adjust a pitch or “angle of
discussed above, Screeding head 311 of Screeding device attack” of framework 314 and vibrating beam 320 relative to
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wheeled support 317. Similarly, adjustable member 325 and concrete by the operator and the wheels 317b of the wheeled
linkages 323 are pivotable relative to wheeled support 317 support 317 in front of the plow 312 and vibrating beam 320
via hydraulic actuator 321, as best shown in FIG. 18, to as the screeding device 310 is pulled or driven in the
adjust an operating range height of framework 314 and direction of arrow Ain FIG. 18 over and through the uncured
screeding head 311 relative to wheeled support 317. As concrete Surface. Adjustment of the pitch of vibrating beam
described above with respect to adjustment device 221, 320 may also adjust the axes of rotation of the eccentric
adjustable member 325 functions to maintain vibrating beam members to adjust the vibration plane of the Vibrating beam.
320 at the desired orientation or “angle of attack” relative to Further adjustment within the operating range height of the
wheeled Support 317 through the operating range of travel. plow 312 to adjust the amount of material being struck off
   In the illustrated embodiment, central frame portion 314b in front of the vibrating beam 320 is provided by the
is pivotally and adjustably mounted to rear end 317a of elevation actuators 318 in response to the laser receivers 322
wheeled support 317 via the pair of parallel linkages 323, the and the laser reference plane, as discussed above.
adjustable member 325 and actuator 321. As best shown in             Optionally, Screeding apparatus 310 may include a pair of
FIGS. 16-18, central frame portion 314b includes a pair of wheel track fillers (not shown in FIGS. 16-20, but such as
upwardly extending brackets or flanges 319, which are bent 15 shown in FIG. 23), which are operable to deflect or direct
or curved inwardly toward one another at their upper ends concrete into the furrows or channels formed by the wheels
319a to join one another. A cross member 319b extends as the Screeding device is moved through the uncured
between the upwardly extending brackets 319 and is fixedly concrete. The wheel track fillerS may be angled plow type
secured to the brackets 319, such that pivotal movement of devices which are positioned in front of a forward side of the
cross member 319b causes pivotal movement or rotation of plow, and just rearward of the wheels, to push or deflect
the brackets 319 and of vibrating beam 320 and plow 312 concrete toward or into the furrows to generally fill in the
about axis 320b defined by cross member 319b.                     furrows before the plow engages the uncured concrete.
   In the illustrated embodiment, cross member 319b               Optionally, Screeding apparatus 310 may include one or
includes an actuator mount 319.c extending forwardly and more work lights 360 (FIG. 16), which provide illumination
upwardly from cross member 319b for mounting an end 25 of the work Site during darkened conditions.
321a of actuator 321, such as an hydraulic cylinder or other         Referring now in detail to FIGS. 17A and 17B, apparatus
means for providing extension and retraction. Actuator 321 310 maintains a center of gravity located in close proximity
is positioned between actuator mount 319.c and a second to and to the rearward side of the wheels 317b and axis 317 w
actuator mount 317h (FIG. 18) at rear end 317a of wheeled according to the direction of travel. The location of the
support 317. Also, each of the linkages 323 is pivotally center of gravity relative to the wheels 317b results in the
mounted at one end to or at a respective end of croSS member Screeding device 310 having the characteristic of being
319b and at the other end to or at the rear end 317a of           nearly balanced about an axis near and parallel to rotation
wheeled support 317. Likewise, the adjustable member 325 axis 317 w at the wheels 317b, with a greater portion of the
is mounted at one end to the upper end 319a of brackets 319 apparatus weight resting upon the wheels and a lesser
and at the other end to cross member 317i of wheeled 35 portion of the apparatus weight resting upon the vibrating
Support 317, and at a position generally above the mounting beam 320, such that vibrating beam 320 is at least partially
points for the linkages 323.                                      Supported by, or essentially “floating upon, the uncured
   As can be seen in FIGS. 16-18, adjustment of the length concrete Surface, and applies a Sufficient and desired amount
of adjustable member 325 causes pivotal movement of of down-pressure to work the Surface. The amount of weight
brackets 319 and vibrating beam 320 and plow 312 about 40 or downward force applied by vibrating beam 320 may be
cross member 319b and pivot axis 320b. This adjusts the adjustable via the fore-aft adjustment of detachable counter
pitch or angle of the vibrating beam 320 relative to the weights (not shown) fastened to appropriate locations on the
uncured concrete Surface. AS can also be seen in FIGS.            screeding device 310. Optionally, the amount of weight or
16-18, extension and retraction of actuator 321 causes            downward force applied by vibrating beam 320 may be
lowering and raising, respectively, of central frame portion 45 adjustable via an adjustable mounting location or mechani
314b, along with vibrating beam 320 and plow 312, relative cal adjustment slots or the like (not shown) between the
to the level of wheeled support 317. Accordingly, the pitch laterally extending frame portion 317c and the wheeled
angle and general height of the vibrating beam 320 relative support members 317a.
to the wheeled support 317 may be selected and adjusted via          Optionally, and preferably, and as shown in FIGS. 17A
adjustment of the turnbuckle or adjustable member 325 and 50 and 17B, screeding device 310 may include an adjustment
extension and/or retraction of the adjustable member 321. device 317k, which functions to adjust the fore-aft position
Once a desired pitch or angle is Set via adjustment of of a lower wheeled support sub-frame assembly 317m,
adjustable member 325, the grade or elevation height of the which is generally comprised of the laterally extending
vibrating beam may be adjusted via actuator 321, while the frame portions 317c, drive motors 317f, and wheels 317b,
pitch angle or “angle of attack' of the vibrating beam 55 relative to an upper wheeled Support Sub-frame assembly
remains at the desired setting. The vibrating beam 320 and 317n, which is generally comprised of handle 317d, forward
plow 312 may be lifted or raised above the uncured concrete end of wheeled support 317e, and rear end of wheeled
Surface or any low obstacles to ease movement of the support 317a. Lower wheeled Support sub-frame assembly
Screeding apparatus 310 through a work Site area to and/or 317m is able to slide relative to upper sub-frame assembly
from a desired location or area of the uncured concrete.       60 317n along longitudinal shaft 317q via bearings 317r. Lon
   The pitch angle and operating range of the elevation gitudinal Shaft 317q is mounted at its opposite ends between
height of the Screeding head 311 are Selected to provide a front cross support 317p and a rear cross Support 317O of
optimal results based upon the Site conditions, concrete slab upper Sub-frame assembly 317n, thereby Securing it to upper
thickness, and concrete mix design, to achieve the desired wheeled support frame 317n. The sliding axis of the lower
consolidation, leveling, and flattening and/or to affect the 65 wheeled support sub-frame assembly 317m relative to upper
Smoothing of the uncured concrete Surface to fill in and sub-frame assembly 317n is thus generally coaxial with the
Smooth over the tracks left in the uncured and unscreeded         longitudinal axis of pivotal motion 317i, which is parallel to
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the direction of travel of the screeding device 310. A center the vibrating beam 320 on the uncured concrete surface. The
actuator bracket 317s and a rear actuator bracket 317t           control system of screeding device 310 thus may provide an
contain a center u-joint 317u and a rear u-joint 317', automatic closed-loop “degree of float” control System for
respectively, for pivotally mounting an actuator or adjust the screeding device 310.
ment device 317k therebetween. Therefore, center u-joint            Alternately, it is further envisioned that the Screeding head
317u and rear u-joint 317 v are each able to maintain at least may be mounted at a rearward end of an extendable or
two axes or degrees of motion freedom to preclude binding adjustable boom (not shown) which extends rearward from
of adjustment device 317k when lower wheeled support the wheeled support. Extension of the boom then moves the
sub-frame assembly 317m is pivoted relative to upper screeding head 311 further rearward to increase the force of
wheeled support sub-frame assembly 317n. Relatively small the Screeding head 311 on the uncured concrete Surface by
degrees of twisting action along the axis of the actuator itself increasing the amount of the unsupported weight of the
may be taken up by the actuator.                                 screeding head 311 and the extendable boom. Conversely,
   As shown in this example, the adjustment device 317k is retraction of the boom then moves the screeding head 311
a 12-volt DC linear electric actuator available commercially further forward or closer to the wheels 317b to decrease the
and manufactured by Warner Electric of South Beloit, Ill., 15 force of the Screeding head 311 on the uncured concrete
USA. Other means of adjustment devices may also or Surface by decreasing the amount of the unsupported weight
otherwise be used, Such as, but not limited to, a mechanical     of the screeding head 311 and the extendable boom as they
turnbuckle, a threaded shaft with a hand-wheel adjustment, are increasingly supported by the wheels 317b. Alternately,
a pressurized hydraulic cylinder, or a toothed rack and the weight or down preSSure exerted by the beam on the
pinion gear, or any other actuators or the like that may be uncured concrete Surface may be adjusted via weights (not
incorporated into the design to perform a similar adjustment shown) which may be added or removed from one of the
function either manually, or as an option automatically, as ends of the Screeding apparatus to affect the balance of the
may be desired, without affecting the Scope of the present unit, without affecting the Scope of the present invention.
invention. In similar fashion, the centeru-joint 317u and rear      Lower wheeled support Sub-frame portion 317m, includ
u-joint 317v of actuator 317k may also be replaced by 25 ing laterally extending frame portions 317c, may be pivot
Spherical bearings, ball joints, elastic mountings, or the like, ally mounted to upper wheeled support sub-frame 317n,
in order to accomplish equivalent degrees of mechanical such that the wheeled support 317 may be pivoted or tilted
freedom to limit or Substantially preclude mechanical bind side to side. This provides a roll action through axis 317|
ing or limitation of adjustment device 317k, without affect with respect to the direction of travel of the wheeled support
ing the Scope of the present invention.                          317. Such free pivotal movement allows for adjustment of
   As can be seen in FIGS. 17A and 17B, shifting the lower the plane of the vibrating beam 320 about a longitudinal axis
wheeled support sub-frame portion 317m and wheels 317b 317i of wheeled Support 317. In Such applications, it is a
to the front with respect to the upper wheeled Support frame further option that the Screeding apparatus may include
sub-frame 317n will increase the proportion of weight on the oil-filled oscillation cylinders or dampers (such as discussed
rearward Side of the Screeding apparatuS 310 and the Screed 35 below and as shown in FIGS. 23 and 23A) or the like to
ing head 311, which results in an increase in the force or control and dampen Such side to Side pivotal movement of
down preSSure exerted upon the uncured concrete by the the screed head 311. This allows controlled axial movement
vibrating beam 320, which is also supported by and works of the screed head 311 along and/or about pivot axis 317|
the uncured concrete Surface. Conversely, shifting the lower and also serves to enhance and maintain the Stability of the
wheeled support sub-frame portion 317m and wheels 317b 40 apparatus while the Screeding device 310 advances along a
to the rear with respect to the upper wheeled Support frame work path or is traveling along to and from a work Site over
sub-frame 317n will decrease the proportion of weight on rough terrain. The Oscillation damperS may be oil-filled
the rearward Side of the Screeding apparatus 310 and the cylinders or gas-spring shock absorbers, but may alternately
Screeding head 311, which results in a decrease in force or be any other form of dampening device, Such as friction or
down preSSure exerted upon the uncured concrete by the 45 other shock absorbing type devices or the like, without
vibrating beam 320, which is also supported by and works affecting the Scope of the present invention.
the uncured concrete Surface. Thus, the means described             Screeding apparatus 310 may also include a temporary
above serves to adjust the force or “degree of float” of the mechanical link or hydraulic locking mechanism to tempo
Vibrating beam 320 upon the uncured concrete Surface as the rarily fix or lock the lower wheeled support sub-frame
uncured concrete Surface is being worked and Smoothed to 50 portion 317m, including the laterally extending frame por
the desired final elevation.                                     tion 317c, at a desired angle or orientation with respect to the
   Additionally, the above described adjustment means may wheels 317b. Alternately, the mechanical links may be
further include means to automatically control the position replaced with oil-filled shock absorbers or hydraulic cylin
of the lower wheeled support sub-frame portion 317m and derS connected hydraulically to one another Such that the
wheels 317b relative to the upper sub-frame 317n via an 55 free flow of fluid, and therefore pivotal motion at axis 317i.
electric actuator 317k in response to measurements taken by can be readily controlled through actuation of a fluid or
a force Sensor (not shown) mounted at the vibrating beam selector valve 990a and/or the selected sizing of the orifices
320 of the screed head 311. The force sensor may measure within check valves, such as orifices 990b and 990c as
the force exerted by the vibrating beam 320 against the shown in FIG. 28 and as discussed below. Actuation of the
concrete Surface and accordingly output an electrical input 60 Selector valve may be either mechanical or through an
Signal to the onboard electronic control box (not shown), electrical Switch or electronic device (not shown) Serving to
where an appropriate output Signal is then generated by the control the electromechanical hydraulic Solenoid valve or
control box to operate the electric actuator 317k and thus to Selector valve. The Screeding device control System thus
shift the lower wheeled support Sub-frame portion 317m may provide an "oscillation lock' control system for the
relative to upper Sub-frame assembly 317n accordingly and 65 Screeding apparatus or device 310.
in the proper direction, in order to automatically maintain an      It is further envisioned that Such a Screeding apparatus
approximate range of desired and preset “degree of float' of "oscillation lock' control System may include an angle or tilt
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Sensor (not shown) to automatically detect the angle of tilt   to the concrete aggregate, in order to avoid potential jam
of the frame portion relative to the frame or the wheels or ming of the drive chain or belt.
relative to a horizontal plane. In Such an application, the       Preferably, the auger 413 is constructed of lightweight
Screeding apparatus may be further operable to automati plastic in order to minimize the weight of Screeding device
cally Sense the Screed head position and to adjust the frame 410. Optionally, the auger 413 may comprise injection
portion to a generally level or generally horizontal orienta molded modular plastic auger Sections with an interlocking
tion (or to a desired angle) in response to the angle Sensor, lap joint that allows the Sections to align with respect to one
Such as via a motor, hydraulic cylinder, or electric actuator another when they are joined together along a common
(also not shown) operable to pivot frame portion 317c about center drive shaft. Such an auger assembly is commercially
axis 317i to a desired angle relative to wheels 317b.          available from The Lundell Corporation, of Odebolt, Iowa,
   Referring now to FIG. 23, a powered wheeled screeding USA, and is used in a variety of applications including
device 410 includes a screeding head 411, which includes a farming, foods, and material handling equipment. Since the
grade Setting device, Such as a plow 412, and a vibrating auger on Screeding device 410 is preferably a lightweight
beam 420 attached to a framework 414, similar to screeding plastic member, the auger may not be required or Suitable to
device 310 discussed above. Screeding head 411 also 15 cut or establish the final grade height of the concrete.
includes a concrete moving device 413, which is operable to Therefore, the dimensional accuracy of the auger flighting or
engage and move excess uncured concrete from in front of any deflection in the auger main Shaft at its center due to
the Vibrating beam 420 and/or plow 412, Such as an auger material loads may not be as critical as with other Screeding
mounted to the plow 412 at laterally opposite ends thereof.    machines. The auger 413 on screeding device 410 functions
Screeding device 410, vibrating beam 420 and plow 412 are to remove excess material off to the side such that plow 412
otherwise substantially similar to screeding device 310, will continue to cut the grade, in a similar manner as
vibrating beam 320 and plow 312, discussed above, such Screeding device 310, as discussed above.
that a detailed discussion will not be repeated herein.           It is envisioned that the Screeding device of the present
   Concrete moving device or auger 413 is rotatably invention may alternately include an auger or the like
mounted between a pair of mounting brackets 412a eXtend 25 positioned along a forward edge of the vibrating beam,
ing forwardly from each end of plow 412, Such that auger whereby the auger is operable to cut or establish the grade
413 extends generally along and generally parallel to the height of the concrete as the Screeding device is moved
entire length of plow 412. Auger 413 is mounted along the along and through the uncured concrete. Such an embodi
front portion or edge of the plow 412 and is rotatable to ment may or may not include a Strike-off plow or indicating
engage and remove exceSS concrete that may accumulate in member. The auger may replace the function of this com
front of Screeding device 410 as the machine progresses ponent entirely or, optionally, the auger may Supplement
through the uncured concrete. Auger 413 comprises a gen engagement and Strike-off of the concrete. The auger or
erally cylindrical tube portion 413a and a helical or other Such device may be vertically adjustable in response to
Spiraling, generally continuous, ridge, blade or flighting the elevation actuators or cylinders to adjust the concrete
413b extending radially outwardly from tube portion 413a, 35 Surface to the desired grade, Such as in a manner Similar to
such that as auger 413 is rotated, blade or flighting 413b the other grade setting devices 12, 112, 212,312 and/or 412,
Scrapes exceSS concrete from the uncured concrete Surface discussed above. In Such an embodiment, it is further
and moves the exceSS concrete toward one side or the other,    envisioned that the auger may be constructed to close
or just ahead of Screeding head 411, depending on the tolerance dimensions and constructed of materials of
direction of rotation of auger 413. Auger 413 is positioned 40 increased Structural rigidity, Such as alloy Steel or carbon
relative to plow 412 Such that a lower edge of flighting 413a fiber or the like, Such that the auger may be increasingly
is just above a lower edge of plow 412, Such that auger 413 Suited for cutting or establishing the grade height of the
removes exceSS concrete, or respectively carries and adds uncured concrete as the Screeding device is moved along and
concrete to fill any low spots while plow 412 sets the through the uncured concrete.
uncured concrete Surface to the desired grade. Alternately, 45 Screeding device 410 preferably includes a pair of laser
the auger 413 may be positioned relative to the plow 412 receivers 422 mounted to the ends of respective rods 426
Such that a lower edge of flighting 413a is equal in elevation extending upward from the plow 412, Similar to laser
to the lower edge of the plow 412, such that the auger 413 receivers 22, discussed above. Preferably, the laser receivers
removes any excess concrete or respectively carries and 422 are positioned generally near to the elevation actuators
adds concrete to fill any low Spots and therefore Sets the 50 418 at the frame members 414d. Such as discussed above
uncured concrete Surface to the desired grade.                 with respect to screeding device 110. The grade of the
   Auger 413 is driven by a driving mechanism or motor uncured concrete Surface may thus be set by grade Setting
413c which may turn or rotate the auger in either direction, device or plow 412 in response to a laser plane generating
Such as in response to control by the operator. The driving System and an established laser plane reference, as discussed
mechanism may be a hydraulic motor positioned at one end 55 above. It is further envisioned that the elevation actuators
of the auger and operable to rotate the auger via a keyed 418 may be at least occasionally correspondingly operable
shaft or the like. Alternately, other means to drive the auger in response to a signal from only one of the laser receivers
may be used, including but not limited to, electric or air 422, Such as in Situations where the laser beam reference
drive motors, roller chains and Sprocket gears, right-angle plane may be temporarily blocked from being received, Such
gearboxes, and/or cogged belts and pulleys and/or the like, 60 as disclosed in U.S. Pat. No. 5,556,226, issued Sep. 17, 1996
without affecting the Scope of the present invention. to Hohmann, Jr. and entitled AUTOMATED, LASER
Optionally, a “center drive position' may be implemented ALIGNED LEVELING APPARATUS, which is hereby
with a drive chain engaging a Sprocket mounted near the incorporated herein by reference.
mid-point of the auger, without affecting the Scope of the        Optionally, the elevation actuators may be controlled by
present invention. If such a drive chain or belt were 65 other means or control Systems, Such as shown in FIG.23A,
implemented, the chain or belt may preferably be Substan Such as a three dimensional profiler System (Such as a 3-D
tially or completely enclosed to limit or preclude exposure Profiler System commercially available from Somero
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Enterprises), such as disclosed in U.S. Pat. No. 6,227,761,      receiverS 22, discussed above. Therefore, the grade of the
issued May 8, 2001 to Kieranen et al. and entitled APPA          uncured concrete may be set by belt 513 of grade setting
RATUS AND METHOD FOR THREE DIMENSIONAL                           device 512 in response to a laser plane generating System
CONTOURING, which is hereby incorporated herein by               and an established laser plane reference, as discussed above.
reference. Optionally, Screeding apparatuS 410 may also          A pair of actuators 518 and linkages 516 may function to
include at least one Sonic tracer or Sensor 455 and at least     generally vertically adjust the position of grade Setting
one three-dimensional laser tracking target 460 (as shown in      device 512 relative to frame members 5.14d of framework
FIG. 23A and as disclosed in U.S. Pat. No. 6,227,761). The        514 and, thus, relative to vibrating beam 520, in response to
Sonic tracer or sensor 455 may be adjustably mounted or           the laser plane System, Similar to the actuators 12 and
Secured at the ends of the Screeding head 411, whereby at         linkages 16 of Screeding device 10, discussed above.
one end of the Screeding head the Sonic Sensor 445 is                Optionally, in place of the continuous, flexible belt as
operable to detect the relative elevation or height of a          shown in FIG. 24, a roller chain riding on and between a pair
previously Screeded Surface using the Sonic Sensor for          of Sprockets (not shown) may be implemented with the
measuring a Surface Screeded during an earlier pass of the
Screeding apparatus) to assist in blending adjacent portions 15 Screeding  device of the present invention. The chain may
                                                                further include multiple paddles extending outward from the
of the uncured concrete Surface, while at the opposite end of chain to engage and move the exceSS uncured concrete.
the Screeding head the tracking target 460 is operable to
measure the location of the Screeding head 411 in three             Optionally, in place of the continuous, flexible belt as
dimensions including elevation of the screed head 411. The       previously shown in FIG.24 and described above, a wheeled
Screeding apparatus 410 may then be operable to adjust the screeding device 610 may include a screed head 611, which
elevation actuator 418 at one end of the plow, auger 413, or includes a vibratory beam or member 620 and a horizontal
grade Setting device, and thus of the Vibrating beam 420, in spinning tube 613 (FIG. 25). The spinning tube 613 has an
response to a Signal from the Sonic tracer or Sensor 455, axis of rotation parallel to the elongated vibrating member
while at the opposite end of the Screed head 411, Screeding 620 and includes a bracket or frame member 612 for
apparatus 410 may be operable to adjust the other elevation 25 mounting the ends of the Spinning tube to the frame mem
actuator 418 at the opposite end of the plow, auger 413, or bers 614d of framework 614 via linkages 616. The working
grade Setting device, and thus of the Vibrating beam 420, in surface of the spinning tube 613 may be either smooth or
response to a signal from the three-dimensional tracking contoured to include Small working edges or paddles (not
target 460 and computer controlled 3-D system.                   shown) to aid in Striking-off and moving excess concrete in
   Alternately, and with reference to the Screeding device the direction of travel of the screeding device 610. The
shown in FIG. 24, a screeding device 510 of the present Spinning tube 613 may be spun or rotated via an hydraulic
invention may include other grade Setting or mechanical motor 613b mounted at one end of spinning tube 613. The
devices or which may be operable to accomplish the same or elevation of the spinning tube 613 may be adjusted relative
Similar task as the auger 413, discussed above. Screeding to the framework 614 of screed head 611 via linkages 616
device 510 may include a screeding head 511 having a 35 and actuators 618, in a similar manner as described above.
vibrating beam or member 520 and a grade setting device Preferably, the actuators 618 are operable in response to
512 attached to a framework 514. Grade setting device 512 laser receivers 622 mounted to a support or bracket 612 of
includes a continuous flexible belt 513 which is routed          spinning tube 613 via masts or rods 626.
around a pair of guides or rollers 513b mounted at laterally        Other means for engaging and moving exceSS concrete to
opposite sides of the screeding device 510. The belt 513 40 a side or ahead of the Screeding device may otherwise be
preferably includes a plurality of paddles 513a extending implemented on the Screeding device on or along the for
outwardly from the belt 513 for engaging and moving the ward edge of the vibrating beam or on or along the forward
excess uncured concrete as the belt is moved about rollers       edge of the plow or the like, without affecting the Scope of
513b.                                                            the present invention.
   In the illustrated embodiment, belt 513 and paddles 513a 45 With reference to FIG. 26, a screeding device 710
function to cut and establish the grade of the uncured includes a wheeled Support 717, which includes a single
concrete Surface as Screeding device 510 is moved along and wheel 717b for guiding and moving the screeding device
through the uncured concrete. Grade Setting device 512 over and through the uncured concrete Surface. Screeding
further includes a center Support Structure 512a eXtending device 710 further includes a screed head 711 mounted at a
along the grade Setting device to Support belt 513 and limit 50 rearward end 717a of wheeled support 717, such as in a
deflection of belt 513 as the belt engages the excess uncured Similar fashion as described above with respect to the Screed
COncrete.                                                        heads 311, 411, 511, 611 of the various screeding devices
   Belt 513 may be driven in either direction around rollers shown and described herein. Wheeled support 717 also
513b via a rotatable drive or power source 513c, which is includes a power Source 730, which may include an engine,
operable to rotatably drive one of the rollers 513b in either 55 an hydraulic pump, and a reservoir for hydraulic fluid or oil,
direction to move the belt and paddles around rollers 513b which is operable to provide pressurized hydraulic fluid or
to move the excess uncured concrete to either side of the         otherwise drive a single drive motor (not shown) to drive the
Screeding device. The power Source 511 may comprise a           wheel 717b. A handle 717d is provided at a forward end
hydraulic motor or any other means for causing rotation of      717e of wheeled support 717 for an operator to guide and/or
one of the rollers 513b to move the belt 513 around both 60 pull or push the screeding device 710 as it travels over and
rollerS 5.13b.                                                  through the uncured concrete.
   Screeding device 510 is otherwise Substantially similar to     Similar to the embodiments discussed above, vibrating
screeding devices 310 and 410, discussed above, such that a beam 720 of screeding device 710 is mounted to a frame
detailed discussion will not be repeated herein. Screeding work 714 and extends laterally outwardly from a pair of
device 510 preferably includes a pair of laser receivers 522 65 frame members 714d of framework 714. Grade setting
mounted to the upper ends of respective rods 526 extending device 712 is adjustably mounted to the framework via
upward from grade Setting device 512, Similar to laser linkages 716 and is preferably adjusted via actuation of
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actuators 718, which, in turn, are preferably actuated in          Similar to the embodiments discussed above, Screeding
response to laser receivers 722 (mounted on grade Setting        device 810 is at least partially supported on an uncured
device 712 via masts or rods 726) receiving a laser reference    concrete Surface and moved along and over the concrete
plane (not shown), as described above.                           Surface to Screed and Smooth the Surface Via Vibration of the
   Screeding device 710 is preferably approximately bal vibrator beam 820 as the vibrator beam 820 floats on or is
anced in a similar fashion to the previously described at least partially Supported on the uncured Surface. The plow
two-wheel screeding device 310 having a pivot axis 317i as 812 is adjustable with respect to the vibrator beam 820 to
shown in FIGS. 17A-20. Stability of the apparatus is made adjust a level or grade of the uncured concrete to a desired
through contact and engagement of the Screed head 711 with grade as Screeding device 810 is moved along and over the
the uncured concrete Surface, with a desired and adjustable uncured concrete. The other details of screeding device 810
proportion of the weight of the device Supported by Surface may be Substantially similar to various aspects of Screeding
contact of the vibrating member 720 with the surface of the device 10, 110, 210, 310, 410,510, 610 and/or 710, dis
uncured concrete. Screeding device 710, screed head 711, cussed above, Such that a detailed discussion of those
vibrating beam 720 and grade setting device 712, which may aspects will not be repeated herein.
optionally comprise one or more various devices of the types 15 With reference to FIG. 28, an hydraulic diagram or
discussed above, Such as a spinning roller (as shown in FIG. schematic 997 is shown which is generally representative of
25), a flexible belt and paddles (as shown in FIG. 24), an an hydraulic System for the Screeding devices shown and
auger (as shown in FIGS. 23 and 23A), and/or a plow or the described herein and particularly for the embodiment shown
like, are otherwise Substantially similar to the elements in FIG. 27. With the screeding device in operation, hydraulic
found in the screeding devices 610,510, 410, 310, discussed oil or fluid is drawn up from a reservoir 996 through a
above, Such that a detailed discussion will not be repeated strainer 970a by pumps 970b and 975a as they are mechani
herein.                                                           cally driven by a power unit or source 930. Pressurized
   Referring now to FIG. 27, another screeding device 810 hydraulic fluid is thus made available for the functioning of
in accordance with the present invention is shown. Screed a wheel drive or propulsion hydraulic circuit 970. Fluid
ing device 810 is configured to be able to exhibit the various 25 passes through a variable flow control 970c and a pressure
functions and elements of the present invention (either compensated flow control valve 970e while any excess
Separately or in combination) as described herein with preSSure, and thus fluid, may be diverted back to reservoir
respect to the other embodiments, Such that a detailed 996 by a relief valve 970d. Hydraulic fluid passing through
discussion of screeding device 810 will not be repeated a selector valve 970f may be controlled through actuation of
herein. Suffice it to say that screeding device 810 includes a the selector valve 970f to select forward or reverse travel
screeding head 811 mounted at a rearward end 817a of a direction of the screeding apparatus 810 (FIG. 27) by
wheeled support 817. Wheeled support 817 includes a pair changing the respective directions of rotation of wheel drive
of wheels 817b rotatably mounted at opposite ends of a motors 917f. A pair of counterbalance valves 970g and 970h
laterally extending frame portion 817c. Wheeled support serve to control the flow of hydraulic fluid under variable
817 at least partially supports the power source (not shown 35 load conditions Such as encountered by inclines, working
in FIG. 27) and generally contains the power Source and          loads, or the like. A variable flow control valve 970i, a flow
other components of the wheeled Support within a housing divider-combiner valve 970i, and a selector control valve
830 of wheeled support 817.                                     970k serve to control the flow into and out of the wheel drive
   Screeding head 811 includes a grade Setting or indicating motors 917f, such that differential or non-differential drive
device, such as a strike-off plow 812, and a vibratory beam 40 action of the wheels 817b (FIG. 27) may be selected via
or member 820. Vibratory beam 820 is mounted to frame actuation of the selector valve 970k as desired by the
work 814 and extends laterally outwardly in opposite direc operator to enhance either turning of the apparatuS 810 or
tions from a pair of frame members 814d of framework 814. driving effort made by the wheels 817b under operating
Vibratory beam 820 may be any type of vibratable member load. Thus, in this example, control of selector valve 970k
and preferably has a generally planar, flat and Smooth lower 45 provides a “differential lock' control of propulsion hydraulic
Surface for engaging and working the uncured concrete circuit 970.
Surface.                                                          With the Screeding device in operation, hydraulic oil or
   Plow 812 is attached to framework 814 by two small sets fluid is drawn up from reservoir 996 through strainer 970a
of linkages 816 and is vertically adjustable relative to the by pumps 970b and 975a as they are mechanically driven by
framework 814 by a pair of elevation actuators 818. Plow 50 power unit 930. Pressurized hydraulic fluid is thus made
812 includes angled end portions or wings 812a at each end available for the functioning of an auger or belt hydraulic
thereof. The angled end portions 812a are angled forwardly circuit 975. Hydraulic circuit 975 is optionally included in
at the ends of the plow and function to keep the exceSS this example to drive an hydraulic motor 913c which in turn
concrete at the forward edge of the plow and, thus, to reduce drives an auger (such as auger 413 shown in FIG. 23A) or,
the amount of concrete that may slide off of the ends of the 55 as a further option, a belt (such as belt 513 shown in FIG.24)
plow during operation and movement of Screeding device or the like. Pressurized hydraulic fluid flows from pump
810 over and through the uncured concrete. As described 975a through a pressure-compensated flow control valve
above with respect to other Screeding devices of the present 975b and through a selector valve 975c to a motor 913c.
invention, the elevation of plow 812 relative to framework Selector valve 975c may be actuated by the operator to drive
814 may be adjustable by actuators 818 in response to input 60 the motor of the auger or belt in a forward or reverse
Signals from each of a pair of laser receiverS 822, which each direction, and also provides a stopped function. Any exceSS
Sense the elevation of a fixed laser plane reference (not hydraulic preSSure and fluid may also be diverted back to
shown in FIG. 27) that has been established over the job site    reservoir 996.
by a separate rotating, laser plane generator or projector         A portion of the exceSS hydraulic pressure and flow is
(also not shown). Each laser receiver 822 is mounted to a 65 automatically diverted to a vibrator motor hydraulic circuit
support rod or mast 826 which is in turn mounted to the 980. Also, any excess hydraulic pressure and fluid may be
grade setting device or strike-off plow 812.            diverted by a relief valve 980a back to reservoir 996.
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Pressurized hydraulic fluid flows from pressure                     Although the Screeding devices of the present invention
compensated flow control valve 975b and/or selector valve         are shown as having a vibrating beam or member for
975c through a pressure-compensated flow control valve            working or Smoothing, compacting and/or consolidating the
980b and through a selector valve 980c to a vibrator motor        uncured concrete Surface, other forms of concrete Surface
931a, and then returns to reservoir 996. Selector valve 980c    working devices or members or elements may be
may be actuated by the operator to turn the vibrator motor implemented, without affecting the Scope of the present
931a on or off. A check valve 980d serves to preclude invention. For example, and with reference to FIGS. 29A-C,
possible damage to vibrator motor 931a where fluid supply a concrete working or leveling or raking device 1010 may
from selector valve 980c is suddenly interrupted and inertial comprise a concrete Surface working member or flotation
forces within the vibrator motor 931a and rotating mechani 1O roller 1020 and a grade setting member or plow or rake 1012
cal elements must be dissipated. Check valve 98.0d allows adjustably mounted at a forward side of roller 1020. Roller
hydraulic fluid to flow freely to vibrator motor 931a momen 1020 is supported on the uncured concrete and rolls over the
tarily until vibrator motor 931a comes to a stop. Thus, in this uncured concrete Surface in a first direction of travel indi
example, hydraulic circuit 980 and the related components cated by arrow A in FIG. 29B, while rake 1012 may be
as described above provide vibration to a Screed head, Such 15 adjusted relative to roller 1020 via an actuator 1018, as
as screed head 811 of apparatus 810 (FIG. 27).
   For actuation of the lift cylinder 921, pressurized hydrau discussed
                                                                grade
                                                                           below, to adjust the depth of cut of the rake or
                                                                       setting device 1012 to keep the flotation roller 1020 at
lic fluid flows from pressure-compensated flow control valve the proper grade.       Actuator 1018 may preferably be an
980b and/or selector valve 980c to supply a hydraulic electric linear actuator            or the like, without affecting the
cylinder circuit 985. Pressurized hydraulic fluid passes Scope of the present invention.
through a pressure-compensated flow control valve 985b, a
selector valve 985c, and a relief valve 985d to operate lift       Concrete raking device 1010 includes a framework 1014,
cylinder 921. Selector valve 985c may be actuated by the which further includes a handle portion 1014a extending
operator to extend and retract hydraulic lift cylinder 921 from a generally central portion of rake 1012 for a user or
(such as lift cylinder 321 as shown in FIGS. 18-20) to either raker to grasp and pull or guide raking device 1010 over and
raise or lower the Screeding head (Such as Screeding head 25 along the uncured concrete surface. Framework 1014
311) as desired. Relief valve 985d limits the maximum includes a pivot bar or connecting member 1014b which
preSSure and therefore the maximum force available to the extends generally perpendicular to the direction of travel
rod-end of lift cylinder 921. Excess pressure and hydraulic along and above rake 1012 and is pivotally connected to the
fluid from hydraulic circuit 985 may be diverted back to opposite ends of rake 1012 creating a horizontal pivot axis
reservoir 996 by pressure-compensated flow control valve 1014h. A pair of side frame members 1014c are rigidly or
985b as well as selector valve 985c. Thus, in this example, fixedly mounted at one end to the opposite ends of pivot bar
hydraulic circuit 985 and the related components as 1014b and pivotally mounted at the other end to a central
described provide a raise and lower or Screed head lift axle 1020a of roller 1020. Pivotal movement of pivot bar
function for the Screeding apparatus of the present invention.  1014b thus causes arcuate movement of roller 1020 relative
   Residual hydraulic fluid pressure and flow from hydraulic 35 to pivot bar 1014b, while roller 1020 may rotate or roll about
circuits 975, 980, 985 serves to enable the function of the       its axis 1020a. Such arcuate movement of roller 1020 via
oscillation lock hydraulic circuit 990. Hydraulic fluid passes    pivotal movement of pivot bar 1014b results in a vertical
through a selector valve 990a, check valves with orifices         adjustment of roller 1020 relative to rake 1012, as discussed
990b and 990c, and into a pair of oscillation lock cylinders      below.
935. Whereas oscillation lock cylinders 935 (and cylinders 40 Pivot bar 1014b includes an actuator mounting bracket or
435 in FIG. 23) serve to control the pivoting or side to side lever 1014d extending upwardly from the central portion of
roll action of a wheeled Support, Such as described previ         pivot bar 1014b for pivotally mounting one end of actuator
ously with respect to wheeled support 317, about a pivot axis     1018 thereto. The other end of actuator 1018 is mounted to
(Such as pivot axis 317 j), the operator may actuate Selector     handle portion 1014, as best shown in FIGS. 29A and 29B.
valve 990a to respectively stop fluid flow between oscilla 45 Actuation or extension/retraction of actuator 1018 causes
tion cylinders 935 or may allow a controlled fluid flow pivotal movement or rotation of pivot bar 1014b via lever
between oscillation cylinders 935 through check valves with arm 1014d. Because pivot bar 1014b is pivotally mounted to
orifices 990b and 990c. Thus, in this example, hydraulic rake 1012 and fixedly mounted to side frame members
circuit 990 and the related components as described provide 1014c, pivotal movement of bar 1014b causes raising or
a useful oscillation lock function for the Screeding apparatus 50 lowering of flotation roller 1020 relative to rake 1012, which
of the present invention.                                         further causes rake 1012 to establish a lower grade or higher
   The majority of hydraulic fluid returning to reservoir 996 grade, respectively, relative to a fixed reference, Such as a
from the above described hydraulic circuits may pass laser plane or the like. This allows an operator of raking
through a cooler 995 and a filter-diffuser 995b, as shown in device 1010 to allow the rake 1012 to rest partially upon the
hydraulic circuit 997 of FIG. 28. A cooler by-pass valve 55 uncured concrete, since the roller 1020 will support the rake
995a may optionally be included in this example to provide at the desired grade while the roller is Supported on the
an alternate path for hydraulic fluid to pass around the cooler concrete Surface. The uncured concrete thus Serves as an
995, as may be necessary in the event of cold ambient elevation or grade height reference for the Screeding or
working temperatures.                                             raking device 1010.
   It may be understood that actuation of the above described 60 Preferably, raking device 1010 includes a laser receiver
Selector valves may be accomplished and implemented 1022 mounted on a mast or rod 1026 extending upward from
through various means or options, Such as, but not limited to, a pair of frame members 1014e extending from the ends of
manual input or control by the operator, mechanical control rake 1012 and a third frame member 1014f extending
through a machine linkage or like elements, electrical con upward from handle portion 1014.a. A fourth frame member
trol by an electromechanical actuator, hydraulic control, or 65 1014g may be added as shown in FIG. 29A to enhance the
otherwise electronically controlled, without affecting the rigidity and stability of frame members 1014e and thus of
Scope of this invention.                                          mast 1026. Actuator 1018 is operable to automatically raise
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and lower roller 1020 relative to rake 1012 in response to a      or member or a powered roller or the like (optionally, a
signal from laser receiver 1022 via an electronic controller      powered roller may be rotated in a direction opposite of
(not shown).                                                      travel to finish the concrete Surface), without affecting the
   Therefore, raking device 1010 provides an automatic           Scope of the present invention. It is further envisioned that
control System using a laser receiver and a flotation roller     an auger may be provided in front of the rake, to further cut
that partially supports the raking device 1010 on an uncured     and establish the desired grade of the concrete Surface,
concrete Surface which also serves as an elevation reference.    without affecting the Scope of the present invention.
During operation, as the raking device is manually drawn            The raking device of the present invention thus provides
towards the user or raker via pulling on handle portion for reduced operator effort to rake placed concrete to a
1014a in the direction indicated by arrow A in FIG. 29B, desired grade. The grade may then be set in response to a
laser receiver 1022 monitors the elevation of the cutting laser receiver and laser plane technology, So that the need to
edge of rake 1012 and adjusts actuator 1018 and thus the estimate the grade by Visual inspection or looking at adja
level of flotation roller 1020 to keep the cutting edge at the cent forms may be obviated. The raking device of the present
desired grade. If the grade of the placed concrete is too high invention provides for an initial grade Setting process,
(such as one or two inches (25 mm to 50 mm) above the 15 whereby initially raking the placed concrete closer to the
desired grade), the laser receiver will cause the roller 1020
to raise to a corresponding height above the raking edge desired accuracy
                                                                           grade may reduce the efforts and improve the
                                                                            of Subsequent concrete working processes.
1012, thus automatically lowering the grade Setting member          Although many of the Screeding devices of the present
1012a desired amount. Additionally, a maximum height invention               are each shown as having a vibrating beam or
correction of the roller may be adjusted to control the
maximum depth of cut per stroke that the rake 1012 may member which is vibrated in response to rotation of eccen
engage the concrete as it travels in direction A So as to tric weights having their axes of rotation oriented generally
maintain the raking device within the physical effort capa Vertically or generally normal to the plane of the Surface of
bilities of the raker. In areas where exceSS material is         the vibrating beam which contacts the uncured concrete,
present, each Successive Stroke may additionally remove other vibrational devices may be implemented without
more exceSS concrete from a given location until the desired 25 affecting the Scope of the present invention. For example, it
grade height has been reached. When the draw Stroke is is envisioned that the axes of rotation may be vertical,
completed in direction A, the raker need only push the horizontal, angled, or skewed, to provide vibration at least
raking device back outward over the uncured concrete in the partially in the Vertical direction or entirely in the horizontal
opposite direction without lifting the raking device for direction as well. It is also envisioned that both the vibrating
another Stroke, Since as Soon as the raking device is pushed beam and the vibrating device may be angled from horizon
by the raker, a rotation Sensor or direction Switch (not tal along the direction of travel of the Screeding device. This
shown) attached to the flotation roller may serve to auto would allow for Some fore/aft vibration of the vibrating
matically lower the flotation roller 1020 and raise the grade beam against the uncured concrete as the Screeding device is
setting device 1012, so that the raking device will roll easily moved along and Supported on the uncured concrete Surface.
over the concrete Surface opposite the direction indicated by 35 It is further envisioned that the vibrating member may be
arrow A.                                                         Vibrated via any other vibrational device, Such as at least one
   Optionally, the raking device 1010 may include other eccentric weight rotating about a generally horizontal axis
concrete Surface working devices or elements which are along the vibrating member, or a pneumatic vibration
substantially equivalent to the function of the flotation roller device, or any other means for vibrating the member or
1020 in FIGS. 29A-C, without affecting the scope of the 40 beam, without affecting the Scope of the present invention.
present invention. For example, a raking device 1010" may           It is further envisioned that various devices may be
include a floating pan 1020' (FIGS. 30A-C), or a raking implemented at the Screed head of the Screeding device of
device 1010" may include a floating track 1020" (FIGS. the present invention. For example, the Screed head may
31A-C). The floating pan 1020' of raking device 1010' may include a vibrating beam, a plow or an auger or may include
be dragged along and over the uncured concrete Surface via 45 any combination of a vibrating beam, a plow and/or an auger
a worker pulling at the handle 1014a in the direction A(FIG. for grading, leveling, Smoothing and/or Screeding the
30B), while the rake or grade setting member 1012 is uncured concrete Surface. Optionally, the Screed head may
adjusted relative to pan 1020' to set or establish the desired include a leveling roller or a Spinning tube, which may be
grade. Similarly, with respect to raking device 1010", a rotatable to roll over the concrete Surface to level and/or
worker may pull (in the direction Ashown in FIG.31B) the 50 smooth the surface. Optionally, the leveling roller may be of
raking device over the concrete surface (with both rollers of the type disclosed in commonly assigned, U.S. patent appli
the floating roller track 1020" being generally freely rotating cation Ser. No. 10/166,507, filed Jun. 10, 2002 by Somero et
as the roller track is pulled or moved over the concrete al., entitled CONCRETE FINISHING APPARATUS, now
Surface), while the rake or grade Setting member 1012 is          U.S. Pat. No. 6,6695,532 (Attorney Docket SOM01 P-320),
adjusted relative to floating track 1020" to set or establish 55 which is hereby incorporated herein by reference.
the desired grade. Alternately, one of the rollers of the          Therefore, the present invention provides a lightweight,
floating track 1020" may be driven via a drive motor (not easily maneuverable Screeding device which is operable to
shown) to assist the operator in moving the raking device         consolidate, Smooth, level and/or Screed uncured concrete,
1010" over the uncured concrete surface, without affecting and is ideally Suited for use on elevated deck Surfaces. The
the scope of the present invention. The raking devices 1010' 60 Screeding device of the present invention avoids the need for
and 1010" are otherwise substantially similar to the raking using metal Stands or for manually creating wet Screed pads
device 1010 discussed above, and are shown in FIGS.             in the uncured concrete in advance of the Screeding
30A-C and 31 A-C with the same reference numbers for the        operation, because the Screed head essentially creates its
other components, Such that a detailed discussion of the own continuous Wet Screed pads as the Screeding device is
raking devices and components will not be repeated herein. 65 moved or pulled over the uncured concrete by an operator.
   Optionally, the raking device 1010 may include other The Screeding device is easily movable, Steered and/or
concrete Surface working devices, Such as a vibrating beam pulled by an operator over the uncured concrete Surface,
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                            33                                                               34
while the vibrating beam or member vibrates to smooth and            3. The Screeding device of claim 2, wherein Said grade
compact the concrete at the Surface as it is Supported Setting device is adjustable via at least one actuator, which
thereon. A Strike-off plow or other grade Setting device is is operable in response to a signal from a laser receiver
positioned along a forward edge of the Vibrating beam to mounted to Said grade Setting device.
establish or cut the grade of the uncured concrete to a desired      4. The Screeding device of claim 1 including at least one
grade or level. The weight of the Screeding device at least actuator for vertically adjusting Said grade Setting device
partially rests upon the uncured concrete Surface and may relative to Said concrete Surface working member.
include no wheels with only an operator providing partial            5. The Screeding device or claim 1, wherein Said grade
Support, a single wheel, or preferably a pair of wheels, for Setting device comprises an elongated member.
at least partially Supporting components of the Screeding            6. The screeding device of claim 5, wherein said elon
device and for enhancing mobility and maneuverability of gated member comprises a Strike-off plow which is adjust
the Screeding device. Optionally, the wheels may be pow able relative to Said concrete Surface working member to
ered or driven to further enhance the mobility, establish the desired grade as Said Screeding device moves
maneuverability, work output, and usefulness of the Screed over the uncured concrete Surface.
ing device.                                                          7. The screeding device of claim 5, wherein said elon
   Optionally, the level or elevation of the plow or grade 15 gated member includes a plurality of fingers or extensions
Setting device may be automatically adjusted in response to extending downwardly therefrom which function to indicate
a laser plane using laser receivers or optionally a laser the desired grade to an operator of Said Screeding device.
guided 3-D reference System for Vertically adjusting the             8. The Screeding device of claim 1, wherein Said concrete
grade Setting device to the desired grade height. The Screed Surface working member comprises a vibrating member.
ing device may also or otherwise provide a Visual indicator          9. The screeding device of claim 8 including a power
to the operator as to the current Status of the grade.            Source for Vibrating Said vibrating member and for actuating
Optionally, the Screeding device may include a concrete Said at least one actuator.
moving device, Such as an auger or other means for engag             10. The screeding device of claim 8 including a wheeled
ing and moving excess uncured concrete to either or both Support frame, Said vibrating member being mounted to Said
Sides or just ahead of the Screeding device as the Screeding 25 wheeled Support frame.
device is moved through the uncured concrete. The concrete           11. The screeding device of claim 10, wherein said
moving device may be implemented along a forward edge of Vibrating member is adjustably mounted to Said wheeled
a Strike-off plow, which cuts or establishes the desired grade Support frame.
height, or may be implemented on a forward edge of the               12. The screeding device of claim 11, wherein said
vibrating beam without a strike-off plow, whereby the con vibrating member is adjustable relative to said wheeled
crete moving device is operable to cut or establish the Support frame to adjust a height of Said vibrating member
desired grade height of the uncured concrete as the Screeding relative to said wheeled support frame.
device moves along and through the uncured concrete.                 13. The screeding device of claim 11, wherein said
   Changes and modifications in the Specifically described vibrating member is adjustable relative to said wheeled
embodiments may be carried out without departing from the 35 Support frame to adjust a pitch of Said vibrating member
principles of the present invention, which is intended to be relative to Said wheeled Support frame and relative to the
limited only by the Scope of the appended claims, as concrete Surface.
interpreted according to the principles of patent law.               14. The screeding device of claim 10, wherein said
   The embodiments of the invention in which an exclusive         wheeled Support frame includes at least two wheels.
property right or privilege is claimed are defined as follows: 40 15. The screeding device of claim 14, wherein said at least
   1. A lightweight Screeding device movable over a Surface two wheels are rotatably driven to move the Screeding
of uncured concrete in a direction of travel and operable and device over and through the uncured concrete Surface.
controllable by an operator not Supported by Said Screeding          16. The Screeding device of claim 10 including an opera
device, Said Serceding device being operable to level and tor handle extending from a forward end of said wheeled
Smooth the uncured concrete Surface, Said Screeding device 45 Support, Said vibrating member being mounted to a rearward
comprising:                                                       end of Said wheeled Support.
   a concrete Surface working member; and                            17. The screeding device of claim 16 including a power
   a grade Setting device which is adjustably mounted to the Source for Said vibrating member, Said power Source being
      concrete Surface working member and generally verti positioned at Said wheeled Support.
      cally adjustable with respect thereto, Said grade Setting 50 18. The screeding device of claim 1, wherein said con
      device extending at least partially along Said concrete crete Surface working member comprises a roller.
      Surface working member, Said Screeding device being            19. The screeding device of claim 18, wherein said grade
      at least partially Supportable on the uncured concrete Setting device comprises a raking member.
      Surface by Said concrete Surface working member, Such          20. The Screeding device of claim 1 including a concrete
      that Said concrete Surface working member rests upon 55 moving device operable to move exceSS concrete from in
      the uncured concrete Surface and provides Support for front of Said grade Setting device to at least one side of Said
      an end of Said lightweight Screeding device, Said grade Screeding device as Said Screeding device is moved through
      Setting device being adjustable relative to Said concrete the uncured concrete.
      Surface working member to at least partially engage the        21. The screeding device of claim 20, wherein said
      uncured concrete Surface in front of Said concrete 60 concrete moving device comprises an auger which is rotat
      Surface working member as Said Screeding device is ably driven to move exceSS concrete.
      moved in the direction of travel to at least one of            22. The screeding device of claim 20, wherein said
      establish and indicate a desired grade elevation for the concrete moving device comprises a flexible member having
      uncured concrete Surface.                                   a plurality of paddles Spaced there along, Said flexible mem
   2. The Screeding device of claim 1, wherein the desired 65 ber being movable to move Said plurality of paddles along
grade of Said grade Setting device is automatically adjustable Said grade Setting device to move exceSS concrete from in
in response to a laser leveling System.                           front of Said grade Setting device.
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                            35                                                                  36
   23. The Screeding device of claim 1, wherein Said grade          35. The screeding device of claim 34 including a power
Setting device comprises a concrete moving device which is        Source for Vibrating Said vibrating member and for actuating
operable to move exceSS concrete from in front of Said            Said at least one actuator.
concrete Surface working member to at least one side of Said         36. The screeding device of claim 34 including a wheeled
Screeding device as Said Screeding device is moved through        Support frame, Said vibrating member being mounted to Said
the uncured concrete.                                             wheeled Support frame.
   24. The screeding device of claim 23, wherein said                37. The screeding device of claim 36, wherein said
concrete moving device comprises an auger which is rot Vibrating  Support
                                                                              member is adjustably mounted to Said wheeled
                                                                           frame.
arably driven to move exceSS concrete.                               38. The screeding device of claim 37, wherein said
   25. The screeding device of claim 23, wherein said
concrete moving device comprises a flexible member having vibrating           member is adjustable relative to said wheeled
a plurality of peddles Spaced there along, Said flexible mem relative to Saidtowheeled
                                                                  Support  frame      adjust a height of Said vibrating member
                                                                                             Support frame.
ber being movable to move Said plurality of paddles along            39. The screeding device of claim 37, wherein said
Said grade Setting device to move exceSS concrete from in vibrating member is adjustable relative to said wheeled
front of Said concrete Surface working member.                 15 Support frame to adjust a pitch of Said vibrating member
   26. A Screeding device movable over a Surface of uncured relative to Said wheeled Support frame and relative to the
concrete in a direction of travel and operable and control concrete Surface.
lable by an operator not Supported by Said Screeding device,         40. The screeding device of claim 36, wherein said
Said Screeding device being operable to level and Smooth the wheeled Support frame includes at least two wheels.
uncured concrete Surface, Said Screeding device comprising:          41. The screeding device of claim 40, wherein said at least
   a concrete Surface working member; and                         two wheels are rotatably driven to move the Screeding
   a grade Setting device which is adjustably mounted to the device       over and through the uncured concrete Surface.
      concrete Surface working member and generally verti tor42.         The Screeding device of claim 36 including an opera
                                                                      handle extending from a forward end of said wheeled
      cally adjustable with respect thereto, Said Screeding 25 Support,    Said vibrating member being mourned to a rearward
      device being at least partially Supportable on the end of Said           wheeled Support.
      uncured concrete Surface by Said concrete Surface              43. The Screeding device of claim 42 including a power
      working member, Said grade Setting device being Source for Said vibrating member, Said power Source being
      adjustable relative to Said concrete Surface working positioned at Said wheeled Support.
      member to at least partially engage the uncured con            44. The screeding device of claim 26, wherein said
      crete Surface in front of Said concrete Surface working concrete Surface working member comprises a roller.
      member to establish a desired grade elevation for the          45. The screeding device of claim 44, wherein said grade
      uncured concrete Surface as Said Screeding device is Setting device comprises a raking member.
      moved over the uncured concrete Surface in the direc           46. The Screeding device of claim 26 including a concrete
      tion of travel.                                             moving   device operable to move exceSS concrete from in
   27. The screeding device of claim 26, wherein the desired 35 front of Said grade Setting device to at least one side of Said
grade of Said grade Setting device is automatically adjustable Screeding device as Said Screeding device is moved through
in response to a laser leveling System.                           the uncured concrete.
   28. The screeding device of claim 27, wherein said grade          47. The screeding device of claim 46, wherein said
Setting device is adjustable via at least one actuator, which 40 concrete
                                                                  arably
                                                                            moving device comprises an auger which is rot
                                                                          driven  to move exceSS concrete.
is operable in response to a signal from a laser receiver            48. The screeding device of claim 46, wherein said
mounted to Said grade Setting device.
   29. The screeding device of claim 26 including at least concrete
                                                                  a
                                                                            moving device comprises a flexible member having
                                                                    plurality of paddles Spaced there along, Said flexible mem
one actuator for vertically adjusting Said grade Setting device ber being movable       to move Said plurality of paddles along
relative to Said concrete Surface working member.              45 Said grade Setting device to move exceSS concrete from in
   30. The screeding device of claim 26, wherein said grade front of Said grade Setting device.
Setting device comprises an elongated member which is                49. The screeding device of claim 26, wherein said grade
adjustable relative to Said concrete Surface working member Setting device comprises a concrete moving device which is
to at least partially engage the uncured concrete Surface.        operable to move exceSS concrete from in front of Said
   31. The screeding device of claim 30, wherein said 50 concrete Surface working member to at least one side of Said
elongated member comprises a Strike-off plow which func Screeding device as Said Screeding device is moved through
tions to establish the desired grade as Said Screeding device the uncured concrete.
moves over the uncured concrete Surface.                             50. The screeding device of claim 49, wherein said
   32. The screeding device of claim 30, wherein said concrete moving device comprises an auger which is rotat
elongated member includes a plurality of fingers or exten 55 ably driven to move exceSS concrete.
Sions extending downwardly therefrom which function to               51. The screeding device of claim 49, wherein said
indicate the desired grade to an operator of Said Screeding concrete moving device comprises a flexible member having
device.                                                           a plurality of paddles Spaced there along, Said flexible mem
   33. The screeding device of claim 26, wherein said grade ber being movable to move Said plurality of paddles along
Setting device comprises a roller.                                Said grade Setting device to move exceSS concrete from in
   34. The screeding device of claim 26, wherein said 60 front of Said concrete Surface working member.
concrete Surface working member comprises a vibrating
member.




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                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.            : 6,976,805 B2                                                               Page 1 of 1
APPLICATIONNO. : 10/266,305
DATED                 : December 20, 2005
INVENTOR(S)           : Quenzi et al.
        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

        Column 3
        Line 25, “system... should be -system.--
        Column 5
        Line 25, insert ---- after “member
        Column 32
        Line 52, insert ---- after “application
        Line 54, “6,6695,532 should be -6,695,532
        Column 33
        Claim 1, Line 45, “serceding should be -screeding--
        Column 34
        Claim 5, Line 8, "or should be --of
        Column 35
        Claim 24, Line 9, "rotarably should be --rotatably
        Claim 25, Line 12, "peddles should be --paddles--
        Column 36
        Claim 42, Line 26, “mourned should be --mounted
        Claim 47, Line 42, “rotarably should be --rotatably



                                                                    Signed and Sealed this
                                                           Twenty-fourth Day of June, 2008


                                                                                   WDJ
                                                                              JON. W. DUDAS
                                                          Director of the United States Patent and Trademark Office



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